                                                                                                          Case 10-33349                     Doc 1
                                                                                                                                                Filed 05/07/10 Entered 05/07/10 16:15:19 Desc Main
                                                                                         B1 (Official Form 1) (4/10)                              Document     Page 1 of 58
                                                                                                                                   United States Bankruptcy Court                       Voluntary Petition
                                                                                                                                        District of Minnesota
                                                                                          Name of Debtor (if individual, enter Last, First, Middle):                                     Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                                           Sams, Michelle Rae
                                                                                          All Other Names used by the Debtor in the last 8 years                                         All Other Names used by the Joint Debtor in the last 8 years
                                                                                          (include married, maiden, and trade names):                                                    (include married, maiden, and trade names):
                                                                                           None

                                                                                         Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
                                                                                         (if more than one, state all): 1834                                               (if more than one, state all):

                                                                                          Street Address of Debtor (No. and Street, City, and State)                                     Street Address of Joint Debtor (No. and Street, City, and State
                                                                                           15706 Crystal Path
                                                                                           Rosemount, MN                                                                                                                                                           ZIPCODE
                                                                                                                                                                ZIPCODE
                                                                                                                                                                   55068
                                                                                          County of Residence or of the Principal Place of Business:                                     County of Residence or of the Principal Place of Business:

                                                                                           Dakota
                                                                                          Mailing Address of Debtor (if different from street address):                                  Mailing Address of Joint Debtor (if different from street address):



                                                                                                                                                                ZIPCODE                                                                                            ZIPCODE

                                                                                          Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                                                                                                                   ZIPCODE

                                                                                                        Type of Debtor                                         Nature of Business                                       Chapter of Bankruptcy Code Under Which
                                                                                                     (Form of Organization)                         (Check one box)                                                          the Petition is Filed (Check one box)
                                                                                                        (Check one box)                                 Health Care Business                                       Chapter 7
                                                                                                                                                        Single Asset Real Estate as defined in
                                                                                                                                                                                                                                              Chapter 15 Petition for
                                                                                             Individual (includes Joint Debtors)
                                                                                                                                                        11 U.S.C. § 101 (51B)                                      Chapter 9                  Recognition of a Foreign
                                                                                             See Exhibit D on page 2 of this form.
                                                                                                                                                        Railroad                                                                              Main Proceeding
                                                                                             Corporation (includes LLC and LLP)                                                                                    Chapter 11
                                                                                                                                                        Stockbroker
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                                                                                             Partnership                                                                                                            Chapter 12                Chapter 15 Petition for
                                                                                             Other (If debtor is not one of the above entities,         Commodity Broker                                                                      Recognition of a Foreign
                                                                                                                                                                                                                   Chapter 13                 Nonmain Proceeding
                                                                                             check this box and state type of entity below.)            Clearing Bank
                                                                                                                                                        Other                                                                        Nature of Debts
                                                                                                                                                                                                                                     (Check one box)
                                                                                                                                                                                                                   Debts are primarily consumer
                                                                                                                                                                   Tax-Exempt Entity                               debts, defined in 11 U.S.C.                    Debts are primarily
                                                                                                                                                                 (Check box, if applicable)                        §101(8) as "incurred by an                     business debts
                                                                                                                                                           Debtor is a tax-exempt organization                     individual primarily for a
                                                                                                                                                           under Title 26 of the United States                     personal, family, or household
                                                                                                                                                           Code (the Internal Revenue Code)                        purpose."
                                                                                                                     Filing Fee (Check one box)                                                   Check one box:       Chapter 11 Debtors
                                                                                                 Full Filing Fee attached                                                                            Debtor is a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                                                                                                                     Debtor is not a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                 Filing Fee to be paid in installments (Applicable to individuals only) Must attach               Check if:
                                                                                                 signed application for the court's consideration certifying that the debtor is unable                  Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                 to pay fee except in installments. Rule 1006(b). See Official Form No. 3A.                             insiders or affiliates) are less than $2,343,300 (amount subject to adjustment on
                                                                                                                                                                                                        4/01/13 and every three years thereafter).
                                                                                                                                                                                                  Check all applicable boxes
                                                                                                 Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
                                                                                                                                                                                                        A plan is being filed with this petition.
                                                                                                 attach signed application for the court’s consideration. See Official Form 3B.
                                                                                                                                                                                                        Acceptances of the plan were solicited prepetition from one or
                                                                                                                                                                                                        more classes, in accordance with 11 U.S.C. § 1126(b).
                                                                                           Statistical/Administrative Information                                                                                                                                  THIS SPACE IS FOR
                                                                                                                                                                                                                                                                   COURT USE ONLY
                                                                                             Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                                             Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                                             distribution to unsecured creditors.
                                                                                         Estimated Number of Creditors

                                                                                          1-49           50-99          100-199           200-999          1000-            5,001-            10,001-          25,001-          50,001-          Over
                                                                                                                                                           5000             10,000            25,000           50,000           100,000          100,000
                                                                                         Estimated Assets

                                                                                         $0 to          $50,001 to     $100,001 to       $500,001       $1,000,001       $10,000,001     $50,000,001         $100,000,001     $500,000,001      More than
                                                                                         $50,000        $100,000       $500,000          to $1          to $10           to $50          to $100             to $500          to $1 billion     $1 billion
                                                                                                                                         million        million          million         million             million
                                                                                         Estimated Liabilities

                                                                                         $0 to          $50,001 to     $100,001 to       $500,001       $1,000,001       $10,000,001     $50,000,001         $100,000,001     $500,000,001      More than
                                                                                         $50,000        $100,000       $500,000          to $1          to $10           to $50          to $100             to $500          to $1 billion     $1 billion
                                                                                                                                         million        million          million         million             million
                                                                                         B1 (OfficialCase
                                                                                                     Form 1) (4/10)
                                                                                                          10-33349                      Doc 1          Filed 05/07/10 Entered 05/07/10 16:15:19                                                Desc Main                  Page 2
                                                                                         Voluntary Petition                                              Document     Page
                                                                                                                                                                       Name 2
                                                                                                                                                                            of of 58
                                                                                                                                                                               Debtor(s):
                                                                                         (This page must be completed and filed in every case)                                       Michelle Rae Sams
                                                                                                               All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                                         Location                                                                              Case Number:                                          Date Filed:
                                                                                         Where Filed:           NONE

                                                                                          Location                                                                             Case Number:                                          Date Filed:
                                                                                          Where Filed:
                                                                                                          N.A.
                                                                                            Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                                          Name of Debtor: NONE                                     Case Number:                           Date Filed:


                                                                                          District:                                                                            Relationship:                                          Judge:


                                                                                                                         Exhibit A                                                                                         Exhibit B
                                                                                                                                                                                                           (To be completed if debtor is an individual
                                                                                         (To be completed if debtor is required to file periodic reports (e.g., forms                                      whose debts are primarily consumer debts)
                                                                                         10K and 10Q) with the Securities and Exchange Commission pursuant to
                                                                                                                                                                                 I, the attorney for the petitioner named in the foregoing petition, declare that I have informed
                                                                                         Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting
                                                                                                                                                                                 the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13 of title 11, United
                                                                                         relief under chapter 11)                                                                States Code, and have explained the relief available under each such chapter.
                                                                                                                                                                                 I further certify that I delivered to the debtor the notice required by 11 U.S.C. § 342(b).



                                                                                                  Exhibit A is attached and made a part of this petition.                        X
                                                                                                                                                                                       Signature of Attorney for Debtor(s)                             Date


                                                                                                                                                                       Exhibit C
                                                                                         Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

                                                                                                  Yes, and Exhibit C is attached and made a part of this petition.

                                                                                                  No
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                                                                                                                                                                        Exhibit D
                                                                                           (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                                                      Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                                          If this is a joint petition:
                                                                                                      Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.


                                                                                                                                                     Information Regarding the Debtor - Venue
                                                                                                                                                                 (Check any applicable box)
                                                                                                                  Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days
                                                                                                                  immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.

                                                                                                                  There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.


                                                                                                                  Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United Sates in this District,
                                                                                                                  or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in federal or state
                                                                                                                  court] in this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                                                                                            Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                                   (Check all applicable boxes)
                                                                                                                  Landlord has a judgment for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                                                                  (Name of landlord that obtained judgment)


                                                                                                                                                                   (Address of landlord)
                                                                                                                  Debtor claims that under applicable non bankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                                                                                                                  entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                                                                  Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day
                                                                                                                  period after the filing of the petition.
                                                                                                                  Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1)).
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                                                                                         Voluntary Petition                                                                     Name of Debtor(s):
                                                                                         (This page must be completed and filed in every case)                                 Michelle Rae Sams
                                                                                                                                                                        Signatures
                                                                                                     Signature(s) of Debtor(s) (Individual/Joint)                                                Signature of a Foreign Representative
                                                                                           I declare under penalty of perjury that the information provided in this petition
                                                                                           is true and correct.
                                                                                           [If petitioner is an individual whose debts are primarily consumer debts and         I declare under penalty of perjury that the information provided in this petition
                                                                                           has chosen to file under chapter 7] I am aware that I may proceed under              is true and correct, that I am the foreign representative of a debtor in a foreign
                                                                                           chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief      proceeding, and that I am authorized to file this petition.
                                                                                           available under each such chapter, and choose to proceed under chapter 7.
                                                                                           [If no attorney represents me and no bankruptcy petition preparer signs the          (Check only one box.)
                                                                                           petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                                                                                                           I request relief in accordance with chapter 15 of title 11, United States
                                                                                           I request relief in accordance with the chapter of title 11, United States                      Code. Certified copies of the documents required by § 1515 of title 11 are
                                                                                           Code, specified in this petition.                                                               attached.

                                                                                                                                                                                           Pursuant to 11 U.S.C.§ 1511, I request relief in accordance with the chapter of
                                                                                                                                                                                           title 11 specified in this petition.  A certified copy of the order granting
                                                                                                                                                                                           recognition of the foreign main proceeding is attached.
                                                                                           X /e/Michelle Rae Sams
                                                                                               Signature of Debtor                                                                X
                                                                                                                                                                                      (Signature of Foreign Representative)
                                                                                           X
                                                                                               Signature of Joint Debtor

                                                                                                                                                                                       (Printed Name of Foreign Representative)
                                                                                                Telephone Number (If not represented by attorney)

                                                                                                May 7, 2010
                                                                                                                                                                                        (Date)
                                                                                                Date

                                                                                                                Signature of Attorney*
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                                                                                          X       /e/Thomas J. Flynn                                                                       Signature of Non-Attorney Petition Preparer
                                                                                               Signature of Attorney for Debtor(s)                                               I declare under penalty of perjury that: 1) I am a bankruptcy petition preparer
                                                                                                                                                                                 as defined in 11 U.S.C. § 110, 2) I prepared this document for compensation,
                                                                                               THOMAS J. FLYNN 30570                                                             and have provided the debtor with a copy of this document and the notices
                                                                                               Printed Name of Attorney for Debtor(s)
                                                                                                                                                                                 and information required under 11 U.S.C. § 110(b), 110(h), and 342(b); and,
                                                                                                                                                                                 3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110
                                                                                               Larkin Hoffman Daly & Lindgren Ltd                                                setting a maximum fee for services chargeable by bankruptcy petition
                                                                                               Firm Name                                                                         preparers, I have given the debtor notice of the maximum amount before any
                                                                                               7900 Xerxes Avenue South, Suite 1500                                              document for filing for a debtor or accepting any fee from the debtor, as
                                                                                               Address                                                                           required in that section. Official Form 19 is attached.

                                                                                               Minneapolis, MN 55431
                                                                                                                                                                                 Printed Name and title, if any, of Bankruptcy Petition Preparer
                                                                                               952-835-3800
                                                                                              Telephone Number
                                                                                                                                                                                 Social Security Number (If the bankruptcy petition preparer is not an individual,
                                                                                               May 7, 2010                                                                       state the Social Security number of the officer, principal, responsible person or
                                                                                             Date                                                                                partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                                          *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
                                                                                          certification that the attorney has no knowledge after an inquiry that the
                                                                                          information in the schedules is incorrect.                                              Address

                                                                                                  Signature of Debtor (Corporation/Partnership)
                                                                                            I declare under penalty of perjury that the information provided in this petition
                                                                                            is true and correct, and that I have been authorized to file this petition on       X
                                                                                            behalf of the debtor.

                                                                                            The debtor requests relief in accordance with the chapter of title 11,                  Date
                                                                                            United States Code, specified in this petition.
                                                                                                                                                                                    Signature of bankruptcy petition preparer or officer, principal, responsible
                                                                                                                                                                                    person, or partner whose Social Security number is provided above.
                                                                                          X
                                                                                               Signature of Authorized Individual                                                   Names and Social Security numbers of all other individuals who prepared or
                                                                                                                                                                                    assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                                                                                                    not an individual:
                                                                                               Printed Name of Authorized Individual
                                                                                                                                                                                    If more than one person prepared this document, attach additional sheets
                                                                                                                                                                                    conforming to the appropriate official form for each person.
                                                                                               Title of Authorized Individual
                                                                                                                                                                                    A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                                                                                                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                              Date                                                                                  imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.
                                                                                                 Case 10-33349                Doc 1   Filed 05/07/10 Entered 05/07/10 16:15:19    Desc Main
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                                                                                         B1 D (Official Form 1, Exhibit D ) (12/09)


                                                                                                                             UNITED STATES BANKRUPTCY COURT
                                                                                                                                           District of Minnesota




                                                                                               Michelle Rae Sams
                                                                                         In re______________________________________                               Case No._____________
                                                                                                         Debtor(s)                                                       (if known)


                                                                                                    EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                                                                                                    CREDIT COUNSELING REQUIREMENT

                                                                                                 Warning: You must be able to check truthfully one of the five statements regarding
                                                                                         credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
                                                                                         case, and the court can dismiss any case you do file. If that happens, you will lose whatever
                                                                                         filing fee you paid, and your creditors will be able to resume collection activities against
                                                                                         you. If your case is dismissed and you file another bankruptcy case later, you may be
                                                                                         required to pay a second filing fee and you may have to take extra steps to stop creditors'
                                                                                         collection activities.

                                                                                                Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
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                                                                                         must complete and file a separate Exhibit D. Check one of the five statements below and attach
                                                                                         any documents as directed.

                                                                                                1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                         from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                         administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                         performing a related budget analysis, and I have a certificate from the agency describing the
                                                                                         services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
                                                                                         developed through the agency.

                                                                                                 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                         from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                         administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                         performing a related budget analysis, but I do not have a certificate from the agency describing
                                                                                         the services provided to me. You must file a copy of a certificate from the agency describing the
                                                                                         services provided to you and a copy of any debt repayment plan developed through the agency
                                                                                         no later than 14 days after your bankruptcy case is filed.
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                                                                                         B1 D (Official Form 1, Exh. D) (12/09) – Cont.
                                                                                                                                            Document     Page 5 of 58                  Page 2


                                                                                                 3. I certify that I requested credit counseling services from an approved agency but
                                                                                         was unable to obtain the services during the seven days from the time I made my request, and the
                                                                                         following exigent circumstances merit a temporary waiver of the credit counseling requirement
                                                                                         so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                                                If your certification is satisfactory to the court, you must still obtain the credit
                                                                                         counseling briefing within the first 30 days after you file your bankruptcy petition and
                                                                                         promptly file a certificate from the agency that provided the counseling, together with a
                                                                                         copy of any debt management plan developed through the agency. Failure to fulfill these
                                                                                         requirements may result in dismissal of your case. Any extension of the 30-day deadline
                                                                                         can be granted only for cause and is limited to a maximum of 15 days. Your case may also
                                                                                         be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
                                                                                         without first receiving a credit counseling briefing.

                                                                                                4. I am not required to receive a credit counseling briefing because of: [Check the
                                                                                         applicable statement.] [Must be accompanied by a motion for determination by the court.]
                                                                                                        Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
                                                                                                illness or mental deficiency so as to be incapable of realizing and making rational
                                                                                                decisions with respect to financial responsibilities.);
                                                                                                        Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
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                                                                                                extent of being unable, after reasonable effort, to participate in a credit counseling
                                                                                                briefing in person, by telephone, or through the Internet.);
                                                                                                        Active military duty in a military combat zone.

                                                                                                5. The United States trustee or bankruptcy administrator has determined that the credit
                                                                                         counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

                                                                                                I certify under penalty of perjury that the information provided above is true and
                                                                                         correct.



                                                                                                                      Signature of Debtor:              /e/Michelle Rae Sams
                                                                                                                                                       MICHELLE RAE SAMS

                                                                                                                                                    May 7, 2010
                                                                                                                                           Date: _________________
                                                                                                      Case 10-33349                 Doc 1     Filed 05/07/10 Entered 05/07/10 16:15:19                         Desc Main
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                                                                                               B6 Summary (Official Form 6 - Summary) (12/07)




                                                                                                                                     United States Bankruptcy Court
                                                                                                                                                    District of Minnesota
                                                                                                           Michelle Rae Sams
                                                                                              In re                                                                                        Case No.
                                                                                                                                               Debtor
                                                                                                                                                                                           Chapter        7

                                                                                                                                              SUMMARY OF SCHEDULES
                                                                                         Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F,
                                                                                         I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
                                                                                         claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must also complete the “Statistical
                                                                                         Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.
                                                                                                                                                    AMOUNTS SCHEDULED
                                                                                                                                        ATTACHED
                                                                                           NAME OF SCHEDULE                              (YES/NO)       NO. OF SHEETS             ASSETS               LIABILITIES            OTHER
                                                                                           A – Real Property
                                                                                                                                        YES                     1            $       300,000

                                                                                           B – Personal Property
                                                                                                                                        YES                     3            $        24,312
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                                                                                           C – Property Claimed
                                                                                               as exempt                                YES                     1

                                                                                           D – Creditors Holding
                                                                                              Secured Claims                            YES                     1                                  $       337,625

                                                                                           E - Creditors Holding Unsecured
                                                                                               Priority Claims                          YES                     2                                  $               0
                                                                                              (Total of Claims on Schedule E)
                                                                                           F - Creditors Holding Unsecured
                                                                                               Nonpriority Claims                       YES                     12                                 $       125,958

                                                                                           G - Executory Contracts and
                                                                                               Unexpired Leases                         YES                     1

                                                                                           H - Codebtors
                                                                                                                                        YES                     1

                                                                                           I - Current Income of
                                                                                               Individual Debtor(s)                     YES                     1                                                        $         2,803

                                                                                           J - Current Expenditures of Individual
                                                                                               Debtors(s)                               YES                     1                                                        $         4,240


                                                                                                                                TOTAL                           24           $       324,312       $       463,583
                                                                                           Official Form10-33349
                                                                                                 Case    6 - Statistical Summary
                                                                                                                         Doc 1 (12/07)
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                                                                                                                               United States Bankruptcy Court
                                                                                                                                                     District of Minnesota

                                                                                                      In re       Michelle Rae Sams                                                 Case No.
                                                                                                                                                Debtor
                                                                                                                                                                                    Chapter         7

                                                                                         STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

                                                                                              If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
                                                                                         §101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                                               Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
                                                                                         information here.

                                                                                         This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                                         Summarize the following types of liabilities, as reported in the Schedules, and total them.


                                                                                            Type of Liability                                                          Amount

                                                                                            Domestic Support Obligations (from Schedule E)                            $
                                                                                                                                                                           N.A.
                                                                                            Taxes and Certain Other Debts Owed to Governmental Units (from            $
                                                                                            Schedule E)
                                                                                                                                                                           N.A.
                                                                                            Claims for Death or Personal Injury While Debtor Was Intoxicated (from    $
                                                                                            Schedule E) (whether disputed or undisputed)                                   N.A.
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                                                                                            Student Loan Obligations (from Schedule F)                                $    N.A.
                                                                                            Domestic Support, Separation Agreement, and Divorce Decree                $
                                                                                            Obligations Not Reported on Schedule E                                         N.A.
                                                                                            Obligations to Pension or Profit-Sharing, and Other Similar Obligations   $
                                                                                            (from Schedule F)                                                              N.A.

                                                                                                                                                             TOTAL    $    N.A.


                                                                                           State the Following:
                                                                                            Average Income (from Schedule I, Line 16)                                 $    N.A.
                                                                                            Average Expenses (from Schedule J, Line 18)                               $    N.A.
                                                                                            Current Monthly Income (from Form 22A Line 12; OR, Form
                                                                                            22B Line 11; OR, Form 22C Line 20 )                                       $
                                                                                                                                                                           N.A.



                                                                                           State the Following:
                                                                                            1. Total from Schedule D, “UNSECURED PORTION, IF                                         $   N.A.
                                                                                            ANY” column

                                                                                            2. Total from Schedule E, “AMOUNT ENTITLED TO
                                                                                            PRIORITY” column.
                                                                                                                                                                      $    N.A.

                                                                                            3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                        $
                                                                                            PRIORITY, IF ANY” column                                                                     N.A.

                                                                                            4. Total from Schedule F                                                                 $   N.A.
                                                                                            5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                             $   N.A.
                                                                                                        Case
                                                                                         B6A (Official Form 6A)10-33349
                                                                                                                (12/07)             Doc 1        Filed 05/07/10 Entered 05/07/10 16:15:19                                          Desc Main
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                                                                                         In re    Michelle Rae Sams                                                                     Case No.
                                                                                                                    Debtor                                                                                                  (If known)

                                                                                                                                         SCHEDULE A - REAL PROPERTY
                                                                                            Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
                                                                                         tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
                                                                                         the debtor’s own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an “H,”
                                                                                         “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under
                                                                                         “Description and Location of Property.”

                                                                                           Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                         Unexpired Leases.

                                                                                             If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
                                                                                         claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                                            If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C –
                                                                                         Property Claimed as Exempt.




                                                                                                                                                                                            HUSBAND, WIFE, JOINT
                                                                                                                                                                                              OR COMMUNITY
                                                                                                                                                                                                                     CURRENT VALUE
                                                                                                                                                                                                                       OF DEBTOR’S
                                                                                                       DESCRIPTION AND LOCATION                              NATURE OF DEBTOR’S                                        INTEREST IN       AMOUNT OF
                                                                                                              OF PROPERTY                                   INTEREST IN PROPERTY                                   PROPERTY, WITHOUT      SECURED
                                                                                                                                                                                                                     DEDUCTING ANY         CLAIM
                                                                                                                                                                                                                     SECURED CLAIM
                                                                                                                                                                                                                      OR EXEMPTION



                                                                                          15706 Crystal Path, City of Rosemount, MN                     Homestead                                                            300,000     Exceeds Value
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                                                                                          55068
                                                                                          Legally described as: Lot 6, Block 1, Shannon
                                                                                          Pond Second Addition, County of Dakota, State
                                                                                          of Minnesota




                                                                                                                                                                                       Total
                                                                                                                                                                                                                            300,000

                                                                                                                                                                                       (Report also on Summary of Schedules.)
                                                                                                        Case
                                                                                         B6B (Official Form 6B)10-33349
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                                                                                         In re      Michelle Rae Sams                                                                          Case No.
                                                                                                                           Debtor                                                                              (If known)

                                                                                                                                             SCHEDULE B - PERSONAL PROPERTY
                                                                                              Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
                                                                                         place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
                                                                                         identified with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital
                                                                                         community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
                                                                                         individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

                                                                                             Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                         Unexpired Leases.

                                                                                               If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
                                                                                         If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                         "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See. 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                    HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                           CURRENT VALUE OF




                                                                                                                                                                                                                      OR COMMUNITY
                                                                                                                                                                                                                                           DEBTOR’S INTEREST
                                                                                                                                                 N                                                                                            IN PROPERTY,
                                                                                                      TYPE OF PROPERTY                           O                     DESCRIPTION AND LOCATION                                                 WITHOUT
                                                                                                                                                 N                           OF PROPERTY                                                    DEDUCTING ANY
                                                                                                                                                 E                                                                                          SECURED CLAIM
                                                                                                                                                                                                                                             OR EXEMPTION


                                                                                           1.    Cash on hand.                                   X
                                                                                           2. Checking, savings or other financial                      TCF Bank Checking Account (-4763 in mother's name,                                           6,900
                                                                                           accounts, certificates of deposit, or shares in
                                                                                           banks, savings and loan, thrift, building and                being held by mother)
                                                                                           loan, and homestead associations, or credit                  TCF Bank Checking Account (-6883)                                                              45
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                                                                                           unions, brokerage houses, or cooperatives.


                                                                                           3. Security deposits with public utilities,           X
                                                                                           telephone companies, landlords, and others.

                                                                                           4. Household goods and furnishings, including                Household goods and furnishings, usual items                                                 1,100
                                                                                           audio, video, and computer equipment.
                                                                                                                                                        No one item worth more than $450

                                                                                           5. Books. Pictures and other art objects,                    Books, pictures and art, usual items                                                          400
                                                                                           antiques, stamp, coin, record, tape, compact disc,
                                                                                           and other collections or collectibles.                       No one item worth more than $450

                                                                                           6.    Wearing apparel.                                       Clothing, usual items                                                                         500
                                                                                                                                                        No one item worth more than $450

                                                                                           7.    Furs and jewelry.                               X
                                                                                           8. Firearms and sports, photographic, and             X
                                                                                           other hobby equipment.

                                                                                           9. Interests in insurance policies. Name                     Farmers Flexible Universal Life (038), Terry Reardon                                         8,767
                                                                                           insurance company of each policy and itemize
                                                                                           surrender or refund value of each.                           Agency (cash value)
                                                                                           10. Annuities. Itemize and name each issuer.          X
                                                                                                        Case
                                                                                         B6B (Official Form 6B)10-33349
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                                                                                         In re     Michelle Rae Sams                                                                         Case No.
                                                                                                                           Debtor                                                                               (If known)

                                                                                                                                              SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                 (Continuation Sheet)




                                                                                                                                                                                                                     HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                            CURRENT VALUE OF




                                                                                                                                                                                                                       OR COMMUNITY
                                                                                                                                                                                                                                            DEBTOR’S INTEREST
                                                                                                                                                   N                                                                                           IN PROPERTY,
                                                                                                     TYPE OF PROPERTY                              O                    DESCRIPTION AND LOCATION                                                 WITHOUT
                                                                                                                                                   N                          OF PROPERTY                                                    DEDUCTING ANY
                                                                                                                                                   E                                                                                         SECURED CLAIM
                                                                                                                                                                                                                                              OR EXEMPTION


                                                                                           11. Interests in an education IRA as defined in         X
                                                                                           26 U.S.C. § 530(b)(1) or under a qualified State
                                                                                           tuition plan as defined in 26 U.S.C. § 529(b)(1).
                                                                                           Give particulars. (File separately the record(s) of
                                                                                           any such interest(s). 11 U.S.C. § 521(c).)

                                                                                           12. Interests in IRA, ERISA, Keogh, or other            X
                                                                                           pension or profit sharing plans. Give particulars.

                                                                                           13. Stock and interests in incorporated and             X
                                                                                           unincorporated businesses. Itemize.

                                                                                           14. Interests in partnerships or joint ventures.        X
                                                                                           Itemize.

                                                                                           15. Government and corporate bonds and other            X
                                                                                           negotiable and non-negotiable instruments.

                                                                                           16. Accounts receivable.                                X
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                                                                                           17. Alimony, maintenance, support, and                  X
                                                                                           property settlement to which the debtor is or
                                                                                           may be entitled. Give particulars.

                                                                                           18. Other liquidated debts owing debtor                 X
                                                                                           including tax refunds. Give particulars.

                                                                                           19. Equitable or future interests, life estates, and    X
                                                                                           rights or powers exercisable for the benefit of
                                                                                           the debtor other than those listed in Schedule A -
                                                                                           Real Property.

                                                                                           20. Contingent and noncontingent interests in           X
                                                                                           estate or a decedent, death benefit plan, life
                                                                                           insurance policy, or trust.

                                                                                           21. Other contingent and unliquidated claims of         X
                                                                                           every nature, including tax refunds,
                                                                                           counterclaims of the debtor, and rights of setoff
                                                                                           claims. Give estimated value of each.

                                                                                           22. Patents, copyrights, and other intellectual         X
                                                                                           property. Give particulars.

                                                                                           23. Licenses, franchises, and other general             X
                                                                                           intangibles. Give particulars.

                                                                                           24. Customer lists or other compilations                X
                                                                                           containing personally identifiable information
                                                                                           (as defined in 11 U.S.C. §101(41A)) provided to
                                                                                           the debtor by individuals in connection with
                                                                                           obtaining a product or service from the debtor
                                                                                           primarily for personal, family, or household
                                                                                           purposes.

                                                                                           25. Automobiles, trucks, trailers, and other                   2005 Mustang Ford total value $8,000 (1/2 owned jointly                                     4,000
                                                                                           vehicles and accessories.
                                                                                                                                                          with son)
                                                                                                       Case6B)10-33349
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                                                                                         In re    Michelle Rae Sams                                                                       Case No.
                                                                                                                           Debtor                                                                                  (If known)

                                                                                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                              (Continuation Sheet)




                                                                                                                                                                                                                           HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                  CURRENT VALUE OF




                                                                                                                                                                                                                             OR COMMUNITY
                                                                                                                                                                                                                                                  DEBTOR’S INTEREST
                                                                                                                                              N                                                                                                      IN PROPERTY,
                                                                                                     TYPE OF PROPERTY                         O                      DESCRIPTION AND LOCATION                                                          WITHOUT
                                                                                                                                              N                            OF PROPERTY                                                             DEDUCTING ANY
                                                                                                                                              E                                                                                                    SECURED CLAIM
                                                                                                                                                                                                                                                    OR EXEMPTION



                                                                                                                                                      2004 Chevrolet Malibu (65,000 miles, bad condition)                                                   2,500
                                                                                           26. Boats, motors, and accessories.                X
                                                                                           27. Aircraft and accessories.                      X
                                                                                           28. Office equipment, furnishings, and supplies.           Dell computer printer                                                                                   50
                                                                                           29. Machinery, fixtures, equipment, and            X
                                                                                           supplies used in business.

                                                                                           30. Inventory.                                     X
                                                                                           31. Animals.                                               3 dogs - rescues                                                                                        50
                                                                                           32. Crops - growing or harvested. Give             X
                                                                                           particulars.

                                                                                           33. Farming equipment and implements.              X
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                                                                                           34. Farm supplies, chemicals, and feed.            X
                                                                                           35. Other personal property of any kind not        X
                                                                                           already listed. Itemize.




                                                                                                                                                                         0       continuation sheets attached        Total                        $        24,312
                                                                                                                                                                                 (Include amounts from any continuation
                                                                                                                                                                                   sheets attached. Report total also on
                                                                                                                                                                                         Summary of Schedules.)
                                                                                                         Case 10-33349             Doc 1      Filed 05/07/10 Entered 05/07/10 16:15:19                           Desc Main
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                                                                                         In re    Michelle Rae Sams                                                               Case No.
                                                                                                                    Debtor                                                                               (If known)

                                                                                                                    SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                           Debtor claims the exemptions to which debtor is entitled under:
                                                                                           (Check one box)

                                                                                                 11 U.S.C. § 522(b)(2)                                            Check if debtor claims a homestead exemption that exceeds
                                                                                                                                                                  $146,450*.
                                                                                                 11 U.S.C. § 522(b)(3)



                                                                                                                                                                                                                    CURRENT
                                                                                                                                                        SPECIFY LAW                         VALUE OF           VALUE OF PROPERTY
                                                                                                     DESCRIPTION OF PROPERTY                          PROVIDING EACH                        CLAIMED            WITHOUT DEDUCTING
                                                                                                                                                         EXEMPTION                         EXEMPTION               EXEMPTION


                                                                                            15706 Crystal Path, City of Rosemount, MN       11 U.S.C. 522(d)(1)                                          0                    300,000
                                                                                            55068
                                                                                            Legally described as: Lot 6, Block 1,
                                                                                            Shannon Pond Second Addition, County of
                                                                                            Dakota, State of Minnesota

                                                                                            Household goods and furnishings, usual          11 U.S.C. 522(d)(3)                                      1,100                      1,100
                                                                                            items

                                                                                            TCF Bank Checking Account (-4763 in             11 U.S.C. 522(d)(5)                                      6,900                      6,900
                                                                                            mother's name, being held by mother)
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                                                                                            Books, pictures and art, usual items            11 U.S.C. 522(d)(5)                                        400                        400

                                                                                            Clothing, usual items                           11 U.S.C. 522(d)(3)                                        500                        500

                                                                                            Farmers Flexible Universal Life (038), Terry    11 U.S.C. 522(d)(8)                                      8,767                      8,767
                                                                                            Reardon Agency (cash value)

                                                                                            2004 Chevrolet Malibu (65,000 miles, bad        11 U.S.C. 522(d)(2)                                      2,500                      2,500
                                                                                            condition)

                                                                                            Dell computer printer                           11 U.S.C. 522(d)(5)                                         50                         50

                                                                                            3 dogs - rescues                                11 U.S.C. 522(d)(5)                                         50                         50

                                                                                            TCF Bank Checking Account (-6883)               11 U.S.C. 522(d)(5)                                         45                         45

                                                                                                                                            Total exemptions claimed:                               20,312




                                                                                           *Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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                                                                                                  Michelle Rae Sams
                                                                                         In re _______________________________________________,                                                               Case No. _________________________________
                                                                                                                       Debtor                                                                                                                               (If known)

                                                                                                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                   State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured
                                                                                         by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                         useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests
                                                                                         such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
                                                                                                    List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, state the child's initials and the name and
                                                                                         address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C
                                                                                         §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
                                                                                                   If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,"
                                                                                         include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether
                                                                                         husband, wife, both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled
                                                                                         "Husband, Wife, Joint, or Community."
                                                                                                   If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
                                                                                         labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than
                                                                                         one of these three columns.)
                                                                                                   Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
                                                                                         labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting
                                                                                         Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from
                                                                                         the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.


                                                                                                   Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                                                                                                                                                                                                                                                        AMOUNT
                                                                                                                                                   HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                            UNLIQUIDATED
                                                                                                                                                                                                               CONTINGENT
                                                                                                                                                                             DATE CLAIM WAS INCURRED,                                                      OF
                                                                                                                                        CODEBTOR




                                                                                                                                                                                                                                           DISPUTED
                                                                                                                                                     ORCOMMUNITY




                                                                                                    CREDITOR’S NAME,
                                                                                                     MAILING ADDRESS                                                            NATURE OF LIEN, AND                                                      CLAIM           UNSECURED
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                                                                                                   INCLUDING ZIP CODE,                                                           DESCRIPTION AND                                                        WITHOUT           PORTION,
                                                                                                  AND ACCOUNT NUMBER                                                            VALUE OF PROPERTY                                                      DEDUCTING           IF ANY
                                                                                                    (See Instructions Above.)                                                     SUBJECT TO LIEN                                                       VALUE OF
                                                                                                                                                                                                                                                      COLLATERAL


                                                                                         ACCOUNT NO. 1969                                                                 Lien: 2nd mortgage on principal                                                                27,000
                                                                                                                                                                          residence
                                                                                         Chase                                                                                                                                                                     This amount
                                                                                                                                                                          (proceeds invested in business)
                                                                                         P.O. Box 78036                                                                                                                                                   138,000 based upon
                                                                                         Phoenix, AZ 85062-8036                                                                                                                                                    existence of
                                                                                                                                                                                                                                                                  Superior Liens
                                                                                                                                                                          VALUE $                  300,000
                                                                                         ACCOUNT NO. 2682                                                                 Lien: Mortgage (house)
                                                                                         Chase
                                                                                         P.O. Box 78420                                                                                                                                                   189,000                 0
                                                                                         Phoenix, AZ 85062-8420

                                                                                                                                                                          VALUE $                  300,000
                                                                                         ACCOUNT NO.                                                                      Lien: Car Loan                                                                                     2,625
                                                                                         Wells Fargo Dealer Services
                                                                                         PO Box 25341                                                                                                                                                      10,625
                                                                                         Santa Ana, CA 92799-5341

                                                                                                                                                                           VALUE $                    8,000

                                                                                            0
                                                                                          _______ continuation sheets attached                                                                                Subtotal     $                              337,625   $       29,625
                                                                                                                                                                                                      (Total of this page)
                                                                                                                                                                                                                  Total    $                              337,625   $       29,625
                                                                                                                                                                                                   (Use only on last page)
                                                                                                                                                                                                                                            (Report also on       (If applicable, report
                                                                                                                                                                                                                                            Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                                  Summary of Certain
                                                                                                                                                                                                                                                                  Liabilities and Related
                                                                                                                                                                                                                                                                  Data.)
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                                                                                                    Michelle Rae Sams
                                                                                            In re________________________________________________________________,                             Case No.______________________________
                                                                                                                    Debtor                                                                                   (if known)

                                                                                                 SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                  A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
                                                                                           unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
                                                                                           address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the
                                                                                           property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with
                                                                                           the type of priority.

                                                                                                  The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                                           the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                           "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.R.Bankr.P. 1007(m).

                                                                                                   If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
                                                                                           entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife,
                                                                                           both of them or the marital community may be liable on each claim by placing an "H,""W,""J," or "C" in the column labeled "Husband, Wife,
                                                                                           Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X"
                                                                                           in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in
                                                                                           more than one of these three columns.)

                                                                                                 Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this
                                                                                           Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                                                     Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
                                                                                           amounts entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with
                                                                                           primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                                                    Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
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                                                                                           amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
                                                                                           with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related
                                                                                           Data.



                                                                                               Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                                          TYPES OF PRIORITY CLAIMS                   (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)



                                                                                                Domestic Support Obligations

                                                                                               Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
                                                                                         or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
                                                                                         11 U.S.C. § 507(a)(1).


                                                                                                Extensions of credit in an involuntary case

                                                                                               Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                                         appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

                                                                                                Wages, salaries, and commissions

                                                                                                  Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                                          independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

                                                                                                Contributions to employee benefit plans

                                                                                                     Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                                             cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

                                                                                                   *Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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                                                                                                       Michelle Rae Sams
                                                                                               In re________________________________________________________________,                      Case No.______________________________
                                                                                                                       Debtor                                                                            (if known)




                                                                                                Certain farmers and fishermen
                                                                                              Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


                                                                                                Deposits by individuals
                                                                                              Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
                                                                                          that were not delivered or provided. 11 U.S.C. § 507(a)(7).

                                                                                                Taxes and Certain Other Debts Owed to Governmental Units

                                                                                              Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).



                                                                                                Commitments to Maintain the Capital of an Insured Depository Institution

                                                                                             Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
                                                                                          Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
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                                                                                          U.S.C. § 507 (a)(9).



                                                                                                Claims for Death or Personal Injury While Debtor Was Intoxicated

                                                                                               Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
                                                                                         alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).




                                                                                          * Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of
                                                                                          adjustment.




                                                                                                                                                    0 continuation sheets attached
                                                                                                                                                   ____
                                                                                                        Case 10-33349                 Doc 1                     Filed 05/07/10 Entered 05/07/10 16:15:19                                                          Desc Main
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                                                                                         B6F (Official Form 6F) (12/07)

                                                                                                  Michelle Rae Sams
                                                                                          In re __________________________________________,                                                                       Case No. _________________________________
                                                                                                                         Debtor                                                                                                                              (If known)

                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
                                                                                          against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                          useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address
                                                                                          of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed. R. Bankr. P.
                                                                                          1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
                                                                                                     If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
                                                                                          appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
                                                                                          community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

                                                                                                    If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
                                                                                          "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

                                                                                                    Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
                                                                                          Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and
                                                                                          Related Data.
                                                                                                   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                                                                                                         HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                              UNLIQUIDATED
                                                                                                                                                           ORCOMMUNITY




                                                                                                                                                                                                                                 CONTINGENT
                                                                                                                                              CODEBTOR




                                                                                                                                                                                     DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                             DISPUTED
                                                                                                     CREDITOR’S NAME,                                                                                                                                                       AMOUNT
                                                                                                      MAILING ADDRESS                                                                  CONSIDERATION FOR CLAIM.
                                                                                                                                                                                     IF CLAIM IS SUBJECT TO SETOFF,                                                           OF
                                                                                                    INCLUDING ZIP CODE,                                                                                                                                                      CLAIM
                                                                                                   AND ACCOUNT NUMBER                                                                           SO STATE.
                                                                                                     (See instructions above.)

                                                                                         ACCOUNT NO.         618                                                                Collection Agency for GE Money/JC Penney
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                                                                                         AIS Services
                                                                                         50 California Street                                                                                                                                                               Notice Only
                                                                                         San Francisco, CA 94111



                                                                                         ACCOUNT NO.         9316                                                               Collection Agency for Kohls/Chase
                                                                                         Allied Data Corporation
                                                                                         13111 Westheimer                                                                                                                                                                   Notice Only
                                                                                         Suite 400
                                                                                         Houston, TX 77077-5547


                                                                                         ACCOUNT NO.         2913                                                               Consideration: Credit card debt
                                                                                         American Express
                                                                                         P.O. Box 981537                                                                                                                                                                             1,207
                                                                                         El Paso, TX 79998



                                                                                         ACCOUNT NO.         4822                                                               Consideration: Medical Services
                                                                                         Assoc. Clinic of Psychology
                                                                                         3100 West Lake Street, #210                                                                                                                                                                      141
                                                                                         Minneapolis, MN 55416




                                                                                               11 continuation sheets attached
                                                                                             _______                                                                                                                           Subtotal                                 $            1,348
                                                                                                                                                                                                             Total                                                      $
                                                                                                                                                              (Use only on last page of the completed Schedule F.)
                                                                                                                                          (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                Summary of Certain Liabilities and Related Data.)
                                                                                                      Case 10-33349               Doc 1                      Filed 05/07/10 Entered 05/07/10 16:15:19                                                              Desc Main
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                                                                                         B6F (Official Form 6F) (12/07) - Cont.


                                                                                                   Michelle Rae Sams
                                                                                           In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                            Debtor                                                                                                                             (If known)


                                                                                              SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                   (Continuation Sheet)




                                                                                                                                                    HUSBAND, WIFE, JOINT
                                                                                                                                                      ORCOMMUNITY




                                                                                                                                                                                                                                                UNLIQUIDATED
                                                                                                                                                                                                                                   CONTINGENT
                                                                                                                                         CODEBTOR
                                                                                                    CREDITOR’S NAME,
                                                                                                                                                                                     DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                DISPUTED
                                                                                                     MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                       CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                   INCLUDING ZIP CODE,
                                                                                                                                                                                     IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                  AND ACCOUNT NUMBER
                                                                                                    (See instructions above.)


                                                                                         ACCOUNT NO.      0816                                                              Consideration: Business debt
                                                                                         Bank of America
                                                                                         P.O. Box 17054                                                                                                                                                                            27,870
                                                                                         Wilmington, DE 19850



                                                                                         ACCOUNT NO.      0204                                                              Consideration: Business debt
                                                                                         Barclays Bank Delaware
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                                                                                         P.O. Box 8803                                                                                                                                                                              1,910
                                                                                         Wilmington, DE 19899



                                                                                         ACCOUNT NO.      4336                                                              Consideration: Business debt
                                                                                         Chase Bank USA
                                                                                         800 Brooksedge Blvd.                                                                                                                                                                       5,927
                                                                                         Westerville, OH 43081



                                                                                         ACCOUNT NO.      1426                                                              Consideration: Business debt
                                                                                         Chase Bank USA
                                                                                         800 Brooksedge Blvd.                                                                                                                                                                           866
                                                                                         Westerville, OH 43081



                                                                                          ACCOUNT NO.     8269                                                              Consideration: Business debt
                                                                                         Chase Bank USA
                                                                                         800 Brooksedge Blvd.                                                                                                                                                                       5,670
                                                                                         Westerville, OH 43081



                                                                                                    1 of _____continuation
                                                                                         Sheet no. _____    11               sheets attached                                                                                     Subtotal                                  $       42,243
                                                                                         to Schedule of Creditors Holding Unsecured
                                                                                         Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                                                                                           (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                              Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                      Case 10-33349               Doc 1                      Filed 05/07/10 Entered 05/07/10 16:15:19                                                              Desc Main
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                                                                                         B6F (Official Form 6F) (12/07) - Cont.


                                                                                                   Michelle Rae Sams
                                                                                           In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                            Debtor                                                                                                                             (If known)


                                                                                              SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                   (Continuation Sheet)




                                                                                                                                                    HUSBAND, WIFE, JOINT
                                                                                                                                                      ORCOMMUNITY




                                                                                                                                                                                                                                                UNLIQUIDATED
                                                                                                                                                                                                                                   CONTINGENT
                                                                                                                                         CODEBTOR
                                                                                                    CREDITOR’S NAME,
                                                                                                                                                                                     DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                DISPUTED
                                                                                                     MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                       CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                   INCLUDING ZIP CODE,
                                                                                                                                                                                     IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                  AND ACCOUNT NUMBER
                                                                                                    (See instructions above.)


                                                                                         ACCOUNT NO.      4243                                                              Consideration: Business debt
                                                                                         Chase Bank USA
                                                                                         800 Brooksedge Blvd.                                                                                                                                                                           5,835
                                                                                         Westerville, OH 43081



                                                                                         ACCOUNT NO.                                                                        Collection Agency for Barclays Bank
                                                                                                                                                                            Delaware
                                                                                         Collect Corp. (Loc. 74)
Bankruptcy2010 ©1991-2010, New Hope Software, Inc., ver. 4.5.4-749 - 31463 - Adobe PDF




                                                                                         455 North Third Street                                                                                                                                                                Notice Only
                                                                                         #260
                                                                                         Phoenix, AZ 85004-3924


                                                                                         ACCOUNT NO.                                                                        Consideration: Business debt
                                                                                                                                                                            Aerial Company (supplier)
                                                                                         CrediSolve
                                                                                         P.O. Box 48439                                                                                                                                                                                 1,778
                                                                                         Minneapolis, MN 55448-0439



                                                                                         ACCOUNT NO.      1116                                                              Consideration: Business computers
                                                                                         Dell Computer/Web Bank
                                                                                         12234 N IH 35 SB Bldg. B                                                                                                                                                                       6,921
                                                                                         Austin, TX 78753



                                                                                          ACCOUNT NO.     2708                                                              Consideration: Business debt
                                                                                         Discover Financial Services LLC
                                                                                         P.O. Box 15316                                                                                                                                                                                 4,000
                                                                                         Wilmington, DE 19850



                                                                                                    2 of _____continuation
                                                                                         Sheet no. _____    11               sheets attached                                                                                     Subtotal                                  $           18,534
                                                                                         to Schedule of Creditors Holding Unsecured
                                                                                         Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                                                                                           (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                              Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                      Case 10-33349               Doc 1                      Filed 05/07/10 Entered 05/07/10 16:15:19                                                              Desc Main
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                                                                                         B6F (Official Form 6F) (12/07) - Cont.


                                                                                                   Michelle Rae Sams
                                                                                           In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                            Debtor                                                                                                                             (If known)


                                                                                              SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                   (Continuation Sheet)




                                                                                                                                                    HUSBAND, WIFE, JOINT
                                                                                                                                                      ORCOMMUNITY




                                                                                                                                                                                                                                                UNLIQUIDATED
                                                                                                                                                                                                                                   CONTINGENT
                                                                                                                                         CODEBTOR
                                                                                                    CREDITOR’S NAME,
                                                                                                                                                                                     DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                DISPUTED
                                                                                                     MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                       CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                   INCLUDING ZIP CODE,
                                                                                                                                                                                     IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                  AND ACCOUNT NUMBER
                                                                                                    (See instructions above.)


                                                                                         ACCOUNT NO.      6616                                                              Collection Agency for Chase Bank USA
                                                                                         Enhanced Recovery Corp.
                                                                                         8014 Bayberry Road                                                                                                                                                                    Notice Only
                                                                                         Jacksonville, FL 32256-7412



                                                                                         ACCOUNT NO.      4163                                                              Collection Agency for Xcel Energy Serv.
                                                                                         ER Solutions Inc.
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                                                                                         800 S.W. 39th Street                                                                                                                                                                  Notice Only
                                                                                         P.O. Box 9004
                                                                                         Renton, WA 98057


                                                                                         ACCOUNT NO.      9151                                                              Collection Agency for Target National Bank
                                                                                         FMS Inc.
                                                                                         P.O. Box 707600                                                                                                                                                                       Notice Only
                                                                                         Tulsa, OK 74170-6700



                                                                                         ACCOUNT NO.                                                                        Consideration: Business debt
                                                                                         Frontier
                                                                                         14450 Burnhaven Drive                                                                                                                                                                  Unknown
                                                                                         Burnsville, MN 55337



                                                                                          ACCOUNT NO.     2598                                                              Collection Agency for GE Money/JCPenney
                                                                                         Frontline Asset Strategies LLC
                                                                                         1935 West County Road B2                                                                                                                                                              Notice Only
                                                                                         #425
                                                                                         Roseville, MN 55113-2797


                                                                                                    3 of _____continuation
                                                                                         Sheet no. _____    11               sheets attached                                                                                     Subtotal                                  $                 0
                                                                                         to Schedule of Creditors Holding Unsecured
                                                                                         Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                                                                                           (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                              Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                      Case 10-33349               Doc 1                      Filed 05/07/10 Entered 05/07/10 16:15:19                                                              Desc Main
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                                                                                                   Michelle Rae Sams
                                                                                           In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                            Debtor                                                                                                                             (If known)


                                                                                              SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                   (Continuation Sheet)




                                                                                                                                                    HUSBAND, WIFE, JOINT
                                                                                                                                                      ORCOMMUNITY




                                                                                                                                                                                                                                                UNLIQUIDATED
                                                                                                                                                                                                                                   CONTINGENT
                                                                                                                                         CODEBTOR
                                                                                                    CREDITOR’S NAME,
                                                                                                                                                                                     DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                DISPUTED
                                                                                                     MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                       CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                   INCLUDING ZIP CODE,
                                                                                                                                                                                     IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                  AND ACCOUNT NUMBER
                                                                                                    (See instructions above.)


                                                                                         ACCOUNT NO.                                                                        Consideration: Business debt
                                                                                         GE Capital/Care Credit
                                                                                         P.O. Box 981439                                                                                                                                                                            6,269
                                                                                         El Paso, TX 79998



                                                                                         ACCOUNT NO.      8982                                                              Consideration: Credit card debt
                                                                                         GE Money/JCPenney
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                                                                                         P.O. Box 981131                                                                                                                                                                            1,949
                                                                                         El Paso, TX 79998



                                                                                         ACCOUNT NO.                                                                        Consideration: Credit card debt
                                                                                         GEMB/Old Navy
                                                                                         P.O. Box 981400                                                                                                                                                                                366
                                                                                         El Paso, TX 79998



                                                                                         ACCOUNT NO.                                                                        Consideration: Business debt
                                                                                         General Electric Capital
                                                                                         PO Box 981400                                                                                                                                                                              1,445
                                                                                         El Paso, TX 79998



                                                                                          ACCOUNT NO.     0874                                                              Consideration: Credit card debt
                                                                                         Home Depot/Citibank
                                                                                         P.O. Box 6497                                                                                                                                                                             12,117
                                                                                         Sioux Falls, SD 57117



                                                                                                    4 of _____continuation
                                                                                         Sheet no. _____    11               sheets attached                                                                                     Subtotal                                  $       22,146
                                                                                         to Schedule of Creditors Holding Unsecured
                                                                                         Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                                                                                           (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                              Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                      Case 10-33349               Doc 1                      Filed 05/07/10 Entered 05/07/10 16:15:19                                                              Desc Main
                                                                                                                                                              Document     Page 21 of 58
                                                                                         B6F (Official Form 6F) (12/07) - Cont.


                                                                                                   Michelle Rae Sams
                                                                                           In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                            Debtor                                                                                                                             (If known)


                                                                                              SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                   (Continuation Sheet)




                                                                                                                                                    HUSBAND, WIFE, JOINT
                                                                                                                                                      ORCOMMUNITY




                                                                                                                                                                                                                                                UNLIQUIDATED
                                                                                                                                                                                                                                   CONTINGENT
                                                                                                                                         CODEBTOR
                                                                                                    CREDITOR’S NAME,
                                                                                                                                                                                     DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                DISPUTED
                                                                                                     MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                       CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                   INCLUDING ZIP CODE,
                                                                                                                                                                                     IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                  AND ACCOUNT NUMBER
                                                                                                    (See instructions above.)


                                                                                         ACCOUNT NO.      9169                                                              Consideration: Business debt
                                                                                         HSBC Bank
                                                                                         P.O. Box 5253                                                                                                                                                                                  3,942
                                                                                         Carol Stream, IL 60197



                                                                                         ACCOUNT NO.      5694                                                              Consideration: Credit card debt
                                                                                         HSBC Bank Nevads N.A.
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                                                                                         Menards                                                                                                                                                                                        5,027
                                                                                         P.O. Box 15524
                                                                                         Wilmington, DE 19850


                                                                                         ACCOUNT NO.      8370                                                              Collection Agency for Chase Bank USA
                                                                                         Integrity Financial Partners, Inc.
                                                                                         4370 109th Street, #100                                                                                                                                                               Notice Only
                                                                                         Overland Park, KS 66211



                                                                                         ACCOUNT NO.                                                                        Consideration: Credit card debt
                                                                                         Kohls/Chase
                                                                                         P.O. Box 3115                                                                                                                                                                                  1,240
                                                                                         Milwaukee, WI 53201



                                                                                          ACCOUNT NO.     4143                                                              Collection Agency for LVNV Funding LLC
                                                                                         Leading Edge Recovery Solution
                                                                                         5440 North Cumberland Avenue                                                                                                                                                          Notice Only
                                                                                         Suite 300
                                                                                         Chicago, IL 60656-1490


                                                                                                    5 of _____continuation
                                                                                         Sheet no. _____    11               sheets attached                                                                                     Subtotal                                  $           10,209
                                                                                         to Schedule of Creditors Holding Unsecured
                                                                                         Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                                                                                           (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                              Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                      Case 10-33349               Doc 1                      Filed 05/07/10 Entered 05/07/10 16:15:19                                                              Desc Main
                                                                                                                                                              Document     Page 22 of 58
                                                                                         B6F (Official Form 6F) (12/07) - Cont.


                                                                                                   Michelle Rae Sams
                                                                                           In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                            Debtor                                                                                                                             (If known)


                                                                                              SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                   (Continuation Sheet)




                                                                                                                                                    HUSBAND, WIFE, JOINT
                                                                                                                                                      ORCOMMUNITY




                                                                                                                                                                                                                                                UNLIQUIDATED
                                                                                                                                                                                                                                   CONTINGENT
                                                                                                                                         CODEBTOR
                                                                                                    CREDITOR’S NAME,
                                                                                                                                                                                     DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                DISPUTED
                                                                                                     MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                       CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                   INCLUDING ZIP CODE,
                                                                                                                                                                                     IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                  AND ACCOUNT NUMBER
                                                                                                    (See instructions above.)


                                                                                         ACCOUNT NO.                                                                        Collection Agency for US Bank
                                                                                         Lofstrom Law Firm LLC
                                                                                         P.O. Box 21123                                                                                                                                                                        Notice Only
                                                                                         Columbia Heights, MN 55421-9849



                                                                                         ACCOUNT NO.      4143                                                              Collection Agency for Citibank Sears
                                                                                                                                                                            Charge Plus
                                                                                         LVNV Funding, LLC
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                                                                                         P.O. Box 10497                                                                                                                                                                                 2,348
                                                                                         Greenville, SC 29603



                                                                                         ACCOUNT NO.                                                                        Collection Agency for GE Money Bank
                                                                                         Midland Credit Management
                                                                                         8875 Aero Drive                                                                                                                                                                       Notice Only
                                                                                         San Diego, CA 92123



                                                                                         ACCOUNT NO.                                                                        Collection Agency for GEMB/Old Navy
                                                                                         Midland Credit Mgmt. Inc.
                                                                                         FBCS, Inc.                                                                                                                                                                            Notice Only
                                                                                         2200 Byberry Road, #120
                                                                                         Hatboro, PA 19040-3738


                                                                                          ACCOUNT NO.                                                                       Collection Agency for American Express
                                                                                         Nationwide Credit, Inc.
                                                                                         2015 Vaughn Road NW                                                                                                                                                                   Notice Only
                                                                                         Suite 400
                                                                                         Kennesaw, GA 30144-7802


                                                                                                    6 of _____continuation
                                                                                         Sheet no. _____    11               sheets attached                                                                                     Subtotal                                  $            2,348
                                                                                         to Schedule of Creditors Holding Unsecured
                                                                                         Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                                                                                           (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                              Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                      Case 10-33349               Doc 1                      Filed 05/07/10 Entered 05/07/10 16:15:19                                                              Desc Main
                                                                                                                                                              Document     Page 23 of 58
                                                                                         B6F (Official Form 6F) (12/07) - Cont.


                                                                                                   Michelle Rae Sams
                                                                                           In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                            Debtor                                                                                                                             (If known)


                                                                                              SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                   (Continuation Sheet)




                                                                                                                                                    HUSBAND, WIFE, JOINT
                                                                                                                                                      ORCOMMUNITY




                                                                                                                                                                                                                                                UNLIQUIDATED
                                                                                                                                                                                                                                   CONTINGENT
                                                                                                                                         CODEBTOR
                                                                                                    CREDITOR’S NAME,
                                                                                                                                                                                     DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                DISPUTED
                                                                                                     MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                       CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                   INCLUDING ZIP CODE,
                                                                                                                                                                                     IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                  AND ACCOUNT NUMBER
                                                                                                    (See instructions above.)


                                                                                         ACCOUNT NO.                                                                        Collection Agency for NCO/ASG of
                                                                                                                                                                            WFNNB, Victorias Secret
                                                                                         NCO Financial Services
                                                                                         507 Prudential Road                                                                                                                                                                   Notice Only
                                                                                         Horsham, PA 19044



                                                                                         ACCOUNT NO.                                                                        Collection Agency for Discover Financial
                                                                                                                                                                            Services LLC
                                                                                         NCO Financial Systems Inc.
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                                                                                         1804 Washington Blvd.                                                                                                                                                                 Notice Only
                                                                                         Mailstop 450
                                                                                         Baltimore, MD 21230


                                                                                         ACCOUNT NO.      7KDB                                                              Collection Agency for General Electric
                                                                                                                                                                            Capital
                                                                                         NCO Financial Systems Inc.
                                                                                         507 Prudential Road                                                                                                                                                                   Notice Only
                                                                                         Horsham, PA 19044



                                                                                         ACCOUNT NO.      0415                                                              Collection Agency for Sam's Club
                                                                                         NCO Financial Systems Inc.
                                                                                         P.O. Box 15740                                                                                                                                                                        Notice Only
                                                                                         Wilmington, DE 19850-5740



                                                                                          ACCOUNT NO.     3772                                                              Incurred: 2/9/2010
                                                                                                                                                                            Consideration: Business Debt
                                                                                         Northern Leasing Systems, Inc.
                                                                                                                                                                            Equipment Lease Agreement (card machine)
                                                                                         P.O. Box 7861                                                                                                                                                                                  1,161
                                                                                         New York, NY 10116



                                                                                                    7 of _____continuation
                                                                                         Sheet no. _____    11               sheets attached                                                                                     Subtotal                                  $            1,161
                                                                                         to Schedule of Creditors Holding Unsecured
                                                                                         Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                                                                                           (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                              Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                      Case 10-33349               Doc 1                      Filed 05/07/10 Entered 05/07/10 16:15:19                                                              Desc Main
                                                                                                                                                              Document     Page 24 of 58
                                                                                         B6F (Official Form 6F) (12/07) - Cont.


                                                                                                   Michelle Rae Sams
                                                                                           In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                            Debtor                                                                                                                             (If known)


                                                                                              SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                   (Continuation Sheet)




                                                                                                                                                    HUSBAND, WIFE, JOINT
                                                                                                                                                      ORCOMMUNITY




                                                                                                                                                                                                                                                UNLIQUIDATED
                                                                                                                                                                                                                                   CONTINGENT
                                                                                                                                         CODEBTOR
                                                                                                    CREDITOR’S NAME,
                                                                                                                                                                                     DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                DISPUTED
                                                                                                     MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                       CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                   INCLUDING ZIP CODE,
                                                                                                                                                                                     IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                  AND ACCOUNT NUMBER
                                                                                                    (See instructions above.)


                                                                                         ACCOUNT NO.      5694                                                              Collection Agency for HSBC Bank
                                                                                                                                                                            Nevada/Menards
                                                                                         Portfolio Recovery Associates
                                                                                         PO Box 12903                                                                                                                                                                          Notice Only
                                                                                         Norfold, VA 23541



                                                                                         ACCOUNT NO.      1426                                                              Collection Agency for Chase Bank USA
                                                                                         Portfolio Recovery Associates, LLC
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                                                                                         120 Corporate Blvd.                                                                                                                                                                   Notice Only
                                                                                         Suite 100
                                                                                         Norfolk, VA 23502


                                                                                         ACCOUNT NO.      4795                                                              Collection Agency for Wells Fargo Business
                                                                                                                                                                            Dir.
                                                                                         Primary Financial Services LLC
                                                                                         3115 North 3rd Avenue                                                                                                                                                                 Notice Only
                                                                                         Suite 112
                                                                                         Phoenix, AZ 85013


                                                                                         ACCOUNT NO.      5814                                                              Incurred: 3/17/2010
                                                                                                                                                                            Collection Agency for Chase Bank
                                                                                         Redline Recovery Services
                                                                                         11675 Rainwater Drive                                                                                                                                                                 Notice Only
                                                                                         Suite 350
                                                                                         Alpharetta, GA 30009


                                                                                          ACCOUNT NO.     1638                                                              Consideration: Business debt
                                                                                         Rivertown Newspaper Group
                                                                                         P.O. Box 15                                                                                                                                                                                         157
                                                                                         Red Wing, MN 55066



                                                                                                    8 of _____continuation
                                                                                         Sheet no. _____    11               sheets attached                                                                                     Subtotal                                  $                 157
                                                                                         to Schedule of Creditors Holding Unsecured
                                                                                         Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                                                                                           (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                              Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                      Case 10-33349               Doc 1                      Filed 05/07/10 Entered 05/07/10 16:15:19                                                              Desc Main
                                                                                                                                                              Document     Page 25 of 58
                                                                                         B6F (Official Form 6F) (12/07) - Cont.


                                                                                                   Michelle Rae Sams
                                                                                           In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                            Debtor                                                                                                                             (If known)


                                                                                              SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                   (Continuation Sheet)




                                                                                                                                                    HUSBAND, WIFE, JOINT
                                                                                                                                                      ORCOMMUNITY




                                                                                                                                                                                                                                                UNLIQUIDATED
                                                                                                                                                                                                                                   CONTINGENT
                                                                                                                                         CODEBTOR
                                                                                                    CREDITOR’S NAME,
                                                                                                                                                                                     DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                DISPUTED
                                                                                                     MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                       CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                   INCLUDING ZIP CODE,
                                                                                                                                                                                     IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                  AND ACCOUNT NUMBER
                                                                                                    (See instructions above.)


                                                                                         ACCOUNT NO.                                                                        Consideration: Business debt
                                                                                         Sam's Club
                                                                                         PO Box 981444                                                                                                                                                                                  1,445
                                                                                         El Paso, TX 79998-1444



                                                                                         ACCOUNT NO.      4476                                                              Consideration: Credit card debt
                                                                                         Sears/Citibank
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                                                                                         P.O. Box 6189                                                                                                                                                                                  2,243
                                                                                         Sioux Falls, SD 57117



                                                                                         ACCOUNT NO.      4880                                                              Collection Agency for Dell Computers/Web
                                                                                                                                                                            Bank
                                                                                         SRA Associates, Inc.
                                                                                         401 Minnetonka Road                                                                                                                                                                   Notice Only
                                                                                         Hi Nella, NJ 08083



                                                                                         ACCOUNT NO.      6179
                                                                                         Target National Bank
                                                                                         P.O. Box 673                                                                                                                                                                                   4,735
                                                                                         Minneapolis, MN 55440



                                                                                          ACCOUNT NO.     0175                                                              Collection Agency for Home Depot/Citibank
                                                                                         The CBE Group
                                                                                         PO Box 900                                                                                                                                                                            Notice Only
                                                                                         Waterloo, IA 50704



                                                                                                    9 of _____continuation
                                                                                         Sheet no. _____    11               sheets attached                                                                                     Subtotal                                  $            8,423
                                                                                         to Schedule of Creditors Holding Unsecured
                                                                                         Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                                                                                           (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                              Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                      Case 10-33349               Doc 1                      Filed 05/07/10 Entered 05/07/10 16:15:19                                                              Desc Main
                                                                                                                                                              Document     Page 26 of 58
                                                                                         B6F (Official Form 6F) (12/07) - Cont.


                                                                                                   Michelle Rae Sams
                                                                                           In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                            Debtor                                                                                                                             (If known)


                                                                                              SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                   (Continuation Sheet)




                                                                                                                                                    HUSBAND, WIFE, JOINT
                                                                                                                                                      ORCOMMUNITY




                                                                                                                                                                                                                                                UNLIQUIDATED
                                                                                                                                                                                                                                   CONTINGENT
                                                                                                                                         CODEBTOR
                                                                                                    CREDITOR’S NAME,
                                                                                                                                                                                     DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                DISPUTED
                                                                                                     MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                       CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                   INCLUDING ZIP CODE,
                                                                                                                                                                                     IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                  AND ACCOUNT NUMBER
                                                                                                    (See instructions above.)


                                                                                         ACCOUNT NO.      7204                                                              Consideration: Business debt
                                                                                         US Bank
                                                                                         P.O. Box 108                                                                                                                                                                                   6,278
                                                                                         Saint Louis, MO 63166



                                                                                         ACCOUNT NO.      4467                                                              Collection Agency for Chase Bank USA
                                                                                         Valentine & Kebartas, Inc.
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                                                                                         P.O. Box 325                                                                                                                                                                          Notice Only
                                                                                         Lawrence, MA 01842



                                                                                         ACCOUNT NO.                                                                        Consideration: Cell Phone (discontinued
                                                                                                                                                                            service)
                                                                                         Verizon Wireless/Great L
                                                                                         P.O. Box 26055                                                                                                                                                                                      790
                                                                                         Minneapolis, MN 55426



                                                                                         ACCOUNT NO.      0149                                                              Consideration: Business debt
                                                                                         Wells Fargo Business Dir
                                                                                         P.O. Box 29482                                                                                                                                                                                10,751
                                                                                         Phoenix, AZ 85038



                                                                                          ACCOUNT NO.     9018                                                              Consideration: Credit card debt
                                                                                         WFNNB/Victorias Secret
                                                                                         4590 East Broad Street                                                                                                                                                                         1,339
                                                                                         Columbus, OH 43213



                                                                                                    10 of _____continuation
                                                                                         Sheet no. _____    11               sheets attached                                                                                     Subtotal                                  $           19,158
                                                                                         to Schedule of Creditors Holding Unsecured
                                                                                         Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                                                                                           (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                              Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                      Case 10-33349               Doc 1                      Filed 05/07/10 Entered 05/07/10 16:15:19                                                              Desc Main
                                                                                                                                                              Document     Page 27 of 58
                                                                                         B6F (Official Form 6F) (12/07) - Cont.


                                                                                                   Michelle Rae Sams
                                                                                           In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                            Debtor                                                                                                                             (If known)


                                                                                              SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                   (Continuation Sheet)




                                                                                                                                                    HUSBAND, WIFE, JOINT
                                                                                                                                                      ORCOMMUNITY




                                                                                                                                                                                                                                                UNLIQUIDATED
                                                                                                                                                                                                                                   CONTINGENT
                                                                                                                                         CODEBTOR
                                                                                                    CREDITOR’S NAME,
                                                                                                                                                                                     DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                DISPUTED
                                                                                                     MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                       CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                   INCLUDING ZIP CODE,
                                                                                                                                                                                     IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                  AND ACCOUNT NUMBER
                                                                                                    (See instructions above.)


                                                                                         ACCOUNT NO.                                                                        Consideration: Business debt
                                                                                         Xcel Energy
                                                                                         PO Box 9477                                                                                                                                                                                    231
                                                                                         Minneapolis, MN 55484-9477



                                                                                         ACCOUNT NO.
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                                                                                         ACCOUNT NO.




                                                                                         ACCOUNT NO.




                                                                                          ACCOUNT NO.




                                                                                                    11 of _____continuation
                                                                                         Sheet no. _____    11               sheets attached                                                                                     Subtotal                                  $            231
                                                                                         to Schedule of Creditors Holding Unsecured
                                                                                         Nonpriority Claims                                                                                                                          Total                                 $      125,958
                                                                                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                                                                                           (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                              Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                        Case 10-33349             Doc 1        Filed 05/07/10 Entered 05/07/10 16:15:19                              Desc Main
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                                                                                                 Michelle Rae Sams
                                                                                         In re                                                                              Case No.
                                                                                                                   Debtor                                                                              (if known)

                                                                                                 SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                                     Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
                                                                                          State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the
                                                                                          names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or
                                                                                          contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
                                                                                          guardian." Do not disclose the child’s name. See 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

                                                                                                 Check this box if debtor has no executory contracts or unexpired leases.


                                                                                                                                                                            DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
                                                                                                 NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                               DEBTOR’S INTEREST. STATE WHETHER LEASE IS FOR
                                                                                                    OF OTHER PARTIES TO LEASE OR CONTRACT.                                  NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                                                                                                NUMBER OF ANY GOVERNMENT CONTRACT.
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                                                                                                      Case 10-33349              Doc 1        Filed 05/07/10 Entered 05/07/10 16:15:19                             Desc Main
                                                                                         B6H (Official Form 6H) (12/07)                        Document     Page 29 of 58



                                                                                         In re   Michelle Rae Sams                                                         Case No.
                                                                                                                  Debtor                                                                              (if known)


                                                                                                                                     SCHEDULE H - CODEBTORS
                                                                                             Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any
                                                                                         debts listed by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community
                                                                                         property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico,
                                                                                         Texas, Washington, or Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the
                                                                                         name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state,
                                                                                         commonwealth, or territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the
                                                                                         commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and address of the child's
                                                                                         parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and
                                                                                         Fed. Bankr. P. 1007(m).
                                                                                             Check this box if debtor has no codebtors.



                                                                                                       NAME AND ADDRESS OF CODEBTOR                                                   NAME AND ADDRESS OF CREDITOR
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                                                                                                         Case 10-33349          Doc 1       Filed 05/07/10 Entered 05/07/10 16:15:19                            Desc Main
                                                                                                                                             Document     Page 30 of 58
                                                                                         B6I (Official Form 6I) (12/07)


                                                                                                      Michelle Rae Sams
                                                                                         In re                                                                                       Case
                                                                                                                Debtor                                                                                  (if known)
                                                                                                                SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                                         The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
                                                                                         filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
                                                                                         calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.

                                                                                          Debtor’s Marital                                                   DEPENDENTS OF DEBTOR AND SPOUSE
                                                                                          Status:   Single                RELATIONSHIP(S): Daughter, Son                                                    AGE(S): 13, 22
                                                                                          Employment:                             DEBTOR                                                                 SPOUSE
                                                                                          Occupation                       Hair Dresser
                                                                                          Name of Employer                 ZAWS Inc. (d/b/a Fantastic Sams)
                                                                                          How long employed
                                                                                          Address of Employer              18069 Jacquard Path                                                             N.A.
                                                                                                                           Lakeville, MN 55044

                                                                                         INCOME: (Estimate of average or projected monthly income at time case filed)                                  DEBTOR                  SPOUSE
                                                                                         1. Monthly gross wages, salary, and commissions
                                                                                                                                                                                                            1,114
                                                                                                                                                                                                    $ _____________                  N.A.
                                                                                                                                                                                                                           $ _____________
                                                                                               (Prorate if not paid monthly.)
                                                                                         2. Estimated monthly overtime                                                                                          0
                                                                                                                                                                                                    $ _____________                  N.A.
                                                                                                                                                                                                                           $ _____________

                                                                                         3. SUBTOTAL                                                                                                         1,114
                                                                                                                                                                                                     $ _____________                 N.A.
                                                                                                                                                                                                                            $ _____________
                                                                                         4. LESS PAYROLL DEDUCTIONS
                                                                                                                                                                                                              111
                                                                                                                                                                                                     $ _____________                 N.A.
                                                                                                                                                                                                                            $ _____________
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                                                                                                 a.   Payroll taxes and social security
                                                                                                                                                                                                                 0
                                                                                                                                                                                                     $ _____________                 N.A.
                                                                                                                                                                                                                            $ _____________
                                                                                                 b.   Insurance
                                                                                                 c.   Union Dues                                                                                                 0
                                                                                                                                                                                                     $ _____________                 N.A.
                                                                                                                                                                                                                            $ _____________
                                                                                                 d.   Other (Specify:___________________________________________________________)                                0
                                                                                                                                                                                                     $ _____________                 N.A.
                                                                                                                                                                                                                            $ _____________

                                                                                         5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                    111
                                                                                                                                                                                                     $ _____________                 N.A.
                                                                                                                                                                                                                            $ _____________

                                                                                         6.. TOTAL NET MONTHLY TAKE HOME PAY                                                                                1,003
                                                                                                                                                                                                     $ _____________                 N.A.
                                                                                                                                                                                                                            $ _____________

                                                                                         7. Regular income from operation of business or profession or farm                                                      0
                                                                                                                                                                                                     $ _____________                 N.A.
                                                                                                                                                                                                                            $ _____________
                                                                                            (Attach detailed statement)
                                                                                         8. Income from real property                                                                                         800
                                                                                                                                                                                                     $ _____________                 N.A.
                                                                                                                                                                                                                            $ _____________
                                                                                         9. Interest and dividends                                                                                               0
                                                                                                                                                                                                     $ _____________                 N.A.
                                                                                                                                                                                                                            $ _____________
                                                                                         10. Alimony, maintenance or support payments payable to the debtor for the
                                                                                                                                                                                                                 0
                                                                                                                                                                                                     $ _____________                 N.A.
                                                                                                                                                                                                                            $ _____________
                                                                                            debtor’s use or that of dependents listed above.
                                                                                         11. Social security or other government assistance
                                                                                                                                                                                                                 0
                                                                                                                                                                                                     $ _____________                 N.A.
                                                                                                                                                                                                                            $ _____________
                                                                                            ( Specify)
                                                                                         12. Pension or retirement income                                                                                        0
                                                                                                                                                                                                     $ _____________                 N.A.
                                                                                                                                                                                                                            $ _____________
                                                                                         13. Other monthly incomePrivate hair dressing appointments                                                          1,000
                                                                                                                                                                                                     $ _____________                 N.A.
                                                                                                                                                                                                                            $ _____________
                                                                                             (Specify)                                                                                                           0
                                                                                                                                                                                                     $ _____________                 N.A.
                                                                                                                                                                                                                            $ _____________
                                                                                         14. SUBTOTAL OF LINES 7 THROUGH 13                                                                          $ _____________
                                                                                                                                                                                                             1,800          $ _____________
                                                                                                                                                                                                                                     N.A.
                                                                                         15. AVERAGE MONTHLY INCOME (Add amounts shown on Lines 6 and 14)                                                   2,803
                                                                                                                                                                                                     $ _____________                 N.A.
                                                                                                                                                                                                                            $ _____________

                                                                                         16. COMBINED AVERAGE MONTHLY INCOME (Combine column totals                                                                        2,803
                                                                                                                                                                                                                  $ _____________
                                                                                             from line 15)
                                                                                                                                                                                (Report also on Summary of Schedules and, if applicable,
                                                                                                                                                                                on Statistical Summary of Certain Liabilities and Related Data)

                                                                                         17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                                                                                                  None
                                                                                                       Case
                                                                                            B6J (Official Form 10-33349
                                                                                                               6J) (12/07)         Doc 1       Filed 05/07/10 Entered 05/07/10 16:15:19                            Desc Main
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                                                                                          In re Michelle Rae Sams                                                                   Case No.
                                                                                                              Debtor                                                                                  (if known)

                                                                                                   SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                                                      Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case
                                                                                           filed. Prorate any payments made biweekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses
                                                                                           calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

                                                                                                 Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of expenditures
                                                                                                 labeled “Spouse.”


                                                                                         1. Rent or home mortgage payment (include lot rented for mobile home)                                                                $ _____________
                                                                                                                                                                                                                                        2,803
                                                                                                    a. Are real estate taxes included?                 Yes ________ No ________
                                                                                                    b. Is property insurance included?                 Yes ________ No ________
                                                                                         2. Utilities: a. Electricity and heating fuel                                                                                        $ ______________
                                                                                                                                                                                                                                          365
                                                                                                        b. Water and sewer                                                                                                    $ ______________
                                                                                                                                                                                                                                          100
                                                                                                        c. Telephone                                                                                                          $ ______________
                                                                                                                                                                                                                                          125
                                                                                                        d. Other ___________________________________________________________________                                          $ ______________
                                                                                                                                                                                                                                            0
                                                                                         3. Home maintenance (repairs and upkeep)                                                                                             $ ______________
                                                                                                                                                                                                                                            0
                                                                                         4. Food                                                                                                                              $ ______________
                                                                                                                                                                                                                                          400
                                                                                         5. Clothing                                                                                                                          $ ______________
                                                                                                                                                                                                                                          100
                                                                                         6. Laundry and dry cleaning                                                                                                          $ ______________
                                                                                                                                                                                                                                            0
                                                                                         7. Medical and dental expenses                                                                                                       $ ______________
                                                                                                                                                                                                                                            0
                                                                                         8. Transportation (not including car payments)                                                                                       $ ______________
                                                                                                                                                                                                                                          100
                                                                                         9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                  $ ______________
                                                                                                                                                                                                                                            0
                                                                                         10.Charitable contributions                                                                                                          $ ______________
                                                                                                                                                                                                                                            0
                                                                                         11.Insurance (not deducted from wages or included in home mortgage payments)
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                                                                                                    a. Homeowner’s or renter’s                                                                                                $ ______________
                                                                                                                                                                                                                                            0
                                                                                                    b. Life                                                                                                                   $ ______________
                                                                                                                                                                                                                                          147
                                                                                                    c. Health                                                                                                                 $ ______________
                                                                                                                                                                                                                                           25
                                                                                                    d.Auto                                                                                                                    $ ______________
                                                                                                                                                                                                                                           75
                                                                                                    e. Other                                                                                                                  $ ______________
                                                                                                                                                                                                                                            0
                                                                                         12.Taxes (not deducted from wages or included in home mortgage payments)
                                                                                         (Specify)                                                                                                                            $ ______________
                                                                                                                                                                                                                                            0
                                                                                         13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
                                                                                                    a. Auto                                                                                                                   $______________
                                                                                                                                                                                                                                            0
                                                                                                    b. Other                                                                                                                  $ ______________
                                                                                                                                                                                                                                            0
                                                                                                    c. Other                                                                                                                  $ ______________
                                                                                                                                                                                                                                            0
                                                                                         14. Alimony, maintenance, and support paid to others                                                                                 $ ______________
                                                                                                                                                                                                                                            0
                                                                                         15. Payments for support of additional dependents not living at your home                                                            $ ______________
                                                                                                                                                                                                                                            0
                                                                                         16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                     $ ______________
                                                                                                                                                                                                                                            0
                                                                                         17. Other                                                                                                                            $______________
                                                                                                                                                                                                                                            0
                                                                                         18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                                             $______________
                                                                                                                                                                                                                                        4,240
                                                                                         if applicable, on the Statistical Summary of Certain Liabilities and Related Data)
                                                                                         19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:
                                                                                                   None


                                                                                         20. STATEMENT OF MONTHLY NET INCOME
                                                                                                 a. Average monthly income from Line 15 of Schedule I                                                                                2,803
                                                                                                                                                                                                                           $ ______________
                                                                                                 b. Average monthly expenses from Line 18 above                                                                            $ ______________
                                                                                                                                                                                                                                     4,240
                                                                                                 c. Monthly net income (a. minus b.)                                                                                                -1,437
                                                                                                                                                                                                                           $ ______________
                                                                                                            Case
                                                                                               B6 (Official Form 6 - 10-33349        Doc
                                                                                                                     Declaration) (12/07)                              1        Filed 05/07/10 Entered 05/07/10 16:15:19                                                                 Desc Main
                                                                                                                                                                                 Document     Page 32 of 58
                                                                                                         Michelle Rae Sams
                                                                                               In re                                                                                                                                        Case No.
                                                                                                                                      Debtor                                                                                                                                   (If known)

                                                                                                                               DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                                                                                                                              DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                                                                                                                                                                   26 sheets, and that they
                                                                                                          I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______
                                                                                               are true and correct to the best of my knowledge, information, and belief.



                                                                                                Date       May 7, 2010                                                                                               Signature:          /e/Michelle Rae Sams
                                                                                                                                                                                                                                                                        Debtor:


                                                                                                Date                                                                                                                 Signature:                       Not Applicable
                                                                                                                                                                                                                                                               (Joint Debtor, if any)

                                                                                                                                                                                                                            [If joint case, both spouses must sign.]
                                                                                            -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                                        DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                                              I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                          compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                          110(h) and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable
                                                                                          by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or
                                                                                          accepting any fee from the debtor, as required by that section.


                                                                                          Printed or Typed Name and Title, if any,                                                                                             Social Security No.
                                                                                          of Bankruptcy Petition Preparer                                                                                                 (Required by 11 U.S.C. § 110.)
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                                                                                           If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
                                                                                           who signs this document.




                                                                                           Address

                                                                                           X
                                                                                                                Signature of Bankruptcy Petition Preparer                                                                                                      Date

                                                                                         Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:



                                                                                         If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                         A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
                                                                                         18 U.S.C. § 156.
                                                                                         -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------


                                                                                                              DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


                                                                                               I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member
                                                                                         or an authorized agent of the partnership ] of the ___________________________________ [corporation or partnership] named as debtor
                                                                                         in this case, declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______sheets (total
                                                                                         shown on summary page plus 1),and that they are true and correct to the best of my knowledge, information, and belief.


                                                                                         Date                                                                                                                 Signature:


                                                                                                                                                                                                                               [Print or type name of individual signing on behalf of debtor.]
                                                                                                                          [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                                          -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                 Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                                                                                                  Case
                                                                                            B7 (Official    10-33349
                                                                                                         Form 7) (04/10)     Doc 1Filed 05/07/10 Entered 05/07/10 16:15:19                                       Desc Main
                                                                                                                            UNITED Document
                                                                                                                                   STATES BANKRUPTCYPage 33 of 58 COURT
                                                                                                                                         District of Minnesota

                                                                                         In Re Michelle Rae Sams                                                                              Case No.
                                                                                                                                                                                                               (if known)


                                                                                                                                   STATEMENT OF FINANCIAL AFFAIRS

                                                                                                         This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
                                                                                               the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
                                                                                               information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                                                                                               filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional, should
                                                                                               provide the information requested on this statement concerning all such activities as well as the individual's personal affairs. To
                                                                                               indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent
                                                                                               or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.
                                                                                               R. Bankr. P. 1007(m).

                                                                                                         Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
                                                                                               must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If
                                                                                               additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name,
                                                                                               case number (if known), and the number of the question.

                                                                                                                                                           DEFINITIONS

                                                                                                          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
                                                                                               individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
                                                                                               the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more of
                                                                                               the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or self-
                                                                                               employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor engages
                                                                                               in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.
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                                                                                                          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
                                                                                               their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5
                                                                                               percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of
                                                                                               such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.



                                                                                                         1. Income from employment or operation of business

                                                                                                         State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
                                                                                                         the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
                                                                                              None       beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
                                                                                                         two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
                                                                                                         the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
                                                                                                         of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                                                         under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
                                                                                                         spouses are separated and a joint petition is not filed.)

                                                                                                                 AMOUNT                                                 SOURCE

                                                                                                  2010             $5,005      Zaws Inc. d/b/a Fantastic Sams

                                                                                                  2009           $13,,244      Zaws Inc. d/b/a Fantastic Sams

                                                                                                  2008           $11,,963      2008 Color Me Perfect ($51,209)
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                                                                                                    2.   Income other than from employment or operation of business

                                                                                         None              State the amount of income received by the debtor other than from employment, trade, profession, or
                                                                                                    operation of the debtor's business during the two years immediately preceding the commencement of this case.
                                                                                                    Give particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                                                    under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                                                                                                    the spouses are separated and a joint petition is not filed.)

                                                                                                     AMOUNT                                                                SOURCE



                                                                                                    3. Payments to creditors
                                                                                         None
                                                                                                    Complete a. or b., as appropriate, and c.
                                                                                                    a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases
                                                                                                    of goods or services, and other debts to any creditor made within 90 days immediately preceding the
                                                                                                    commencement of this case unless the aggregate value of all property that constitutes or is affected by such
                                                                                                    transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of
                                                                                                    a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
                                                                                                    nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13
                                                                                                    must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
                                                                                                    separated and a joint petition is not filed.)


                                                                                         NAME AND ADDRESS OF CREDITOR                                    DATES OF                             AMOUNT               AMOUNT STILL
                                                                                                                                                         PAYMENTS                              PAID                   OWING
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                                                                                         None
                                                                                                    b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor
                                                                                                    made within 90 days immediately preceding the commencement of the case unless the aggregate value of all
                                                                                                    property that constitutes or is affected by such transfer is less than $5,850*. If the debtor is an individual,
                                                                                                    indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
                                                                                                    obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and
                                                                                                    credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and
                                                                                                    other transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                    and a joint petition is not filed.)
                                                                                         *Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after date of adjustment.
                                                                                         NAME AND ADDRESS OF CREDITOR                                    DATES OF                             AMOUNT               AMOUNT STILL
                                                                                          AND RELATIONSHIP TO DEBTOR                                     PAYMENTS                              PAID                   OWING
                                                                                            Case 10-33349             Doc 1        Filed 05/07/10 Entered 05/07/10 16:15:19                            Desc Main
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                                                                                         None
                                                                                                  c. All debtors: List all payments made within one year immediately preceding the commencement of this case
                                                                                                  to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13
                                                                                                  must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
                                                                                                  separated and a joint petition is not filed.)


                                                                                         NAME AND ADDRESS OF CREDITOR                             DATES OF                     AMOUNT PAID           AMOUNT STILL
                                                                                          AND RELATIONSHIP TO DEBTOR                              PAYMENTS                                              OWING


                                                                                                  4. Suits and administrative proceedings, executions, garnishments and attachments

                                                                                         None     a.      List all suits and administrative proceedings to which the debtor is or was a party within one year
                                                                                                  immediately preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13
                                                                                                  must include information concerning either or both spouses whether or not a joint petition is filed, unless the
                                                                                                  spouses are separated and a joint petition is not filed.)


                                                                                          CAPTION OF SUIT               NATURE OF PROCEEDING                         COURT OR                              STATUS OR
                                                                                         AND CASE NUMBER                                                        AGENCY AND LOCATION                        DISPOSITION

                                                                                         Frontline Asset              Default of GE Money/JC Penney                District Court                      Hearing set for
                                                                                         Strategies vs. Sams,         Credit Card                                  Dakota County                       5/6/2010
                                                                                         Michelle
                                                                                         19HA-CO-10-489
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                                                                                         HSBC Bank Nevada,            Default on HSBC Bank Nevada,                 District Court                      Judgment entered
                                                                                         N.A. v. Michelle R           N.A./Menards Credit Card                     Dakota County                       3/3/2010
                                                                                         Sams
                                                                                         19HA-CV-10-1140

                                                                                         None     b.      Describe all property that has been attached, garnished or seized under any legal or equitable process
                                                                                                  within one year immediately preceding the commencement of this case. (Married debtors filing under chapter
                                                                                                  12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint
                                                                                                  petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                            NAME AND ADDRESS OF                                      DATE OF                                    DESCRIPTION AND
                                                                                          PERSON FOR WHOSE BENEFIT                                   SEIZURE                                   VALUE OF PROPERTY
                                                                                            PROPERTY WAS SEIZED
                                                                                            Case 10-33349              Doc 1        Filed 05/07/10 Entered 05/07/10 16:15:19                           Desc Main
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                                                                                                  5.   Repossessions, foreclosures and returns

                                                                                         None            List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a
                                                                                                  deed in lieu of foreclosure or returned to the seller, within one year immediately preceding the commencement
                                                                                                  of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                                                                                                  property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                                                  joint petition is not filed.)


                                                                                             NAME AND                                 DATE OF REPOSESSION,                                      DESCRIPTION AND
                                                                                            ADDRESS OF                                 FORECLOSURE SALE,                                       VALUE OF PROPERTY
                                                                                         CREDITOR OR SELLER                           TRANSFER OR RETURN


                                                                                                  6. Assignments and Receiverships

                                                                                         None     a.      Describe any assignment of property for the benefit of creditors made within 120 days immediately
                                                                                                  preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                  any assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                  and a joint petition is not filed.)


                                                                                                 NAME AND                                    DATE OF ASSIGNMENT                              TERMS OF
                                                                                                  ADDRESS                                                                                   ASSIGNMENT
                                                                                                OF ASSIGNEE                                                                                OR SETTLEMENT


                                                                                         None     b.      List all property which has been in the hands of a custodian, receiver, or court-appointed official within
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                                                                                                  one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                                                  chapter 13 must include information concerning property of either or both spouses whether or not a joint petition
                                                                                                  is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                 NAME AND                          NAME AND LOCATION                         DATE OF               DESCRIPTION AND
                                                                                                  ADDRESS                          OF COURT CASE TITLE                        ORDER               VALUE OF PROPERTY
                                                                                                OF CUSTODIAN                            & NUMBER



                                                                                                  7.   Gifts

                                                                                         None           List all gifts or charitable contributions made within one year immediately preceding the commencement of
                                                                                                  this case, except ordinary and usual gifts to family members aggregating less than $200 in value per individual
                                                                                                  family member and charitable contributions aggregating less than $100 per recipient. (Married debtors filing
                                                                                                  under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
                                                                                                  joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                NAME AND                            RELATIONSHIP                       DATE OF                 DESCRIPTION AND
                                                                                               ADDRESS OF                         TO DEBTOR, IF ANY                      GIFT                   VALUE OF GIFT
                                                                                         PERSON OR ORGANIZATION
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                                                                                                   8.   Losses

                                                                                         None             List all losses from fire, theft, other casualty or gambling within one year immediately preceding the
                                                                                                   commencement of this case or since the commencement of this case. (Married debtors filing under chapter 12
                                                                                                   or chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the
                                                                                                   spouses are separated and a joint petition is not filed.)


                                                                                            DESCRIPTION                            DESCRIPTION OF CIRCUMSTANCES, AND, IF LOSS                               DATE OF
                                                                                            AND VALUE                                 WAS COVERED IN WHOLE OR IN PART BY                                     LOSS
                                                                                            OF PROPERTY                                   INSURANCE, GIVE PARTICULARS


                                                                                                   9.   Payments related to debt counseling or bankruptcy

                                                                                         None              List all payments made or property transferred by or on behalf of the debtor to any persons, including
                                                                                                   attorneys, for consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a
                                                                                                   petition in bankruptcy within one year immediately preceding the commencement of this case.


                                                                                                    NAME AND ADDRESS                         DATE OF PAYMENT,                             AMOUNT OF MONEY OR
                                                                                                        OF PAYEE                             NAME OF PAYOR IF                               DESCRIPTION AND
                                                                                                                                            OTHER THAN DEBTOR                              VALUE OF PROPERTY

                                                                                         Larkin Hoffman Daly & Lindgren               March, 2010                                    2500.00
                                                                                         Ltd.
                                                                                         7900 Xerxes Avenue South
                                                                                         Suite 1500
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                                                                                         Minneapolis, MN 55431


                                                                                                   10. Other transfers

                                                                                         None      a.     List all other property, other than property transferred in the ordinary course of the business or financial
                                                                                                   affairs of the debtor, transferred either absolutely or as security within two years immediately preceding the
                                                                                                   commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by
                                                                                                   either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition
                                                                                                   is not filed.)


                                                                                           NAME AND ADDRESS OF TRANSFEREE,                                     DATE                            DESCRIBE PROPERTY
                                                                                               RELATIONSHIP TO DEBTOR                                                                          TRANSFERRED AND
                                                                                                                                                                                                VALUE RECEIVED


                                                                                                   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this
                                                                                                   case to a self-settled trust or similar device of which the debtor is a beneficiary.
                                                                                         None

                                                                                                NAME OF TRUST OR OTHER DEVICE                                DATE(S) OF                      AMOUNT OF MONEY OR
                                                                                                                                                            TRANSFER(S)                        DESCRIPTION AND
                                                                                                                                                                                              VALUE OF PROPERTY
                                                                                                                                                                                             OR DEBTOR'S INTEREST
                                                                                                                                                                                                 IN PROPERTY
                                                                                            Case 10-33349              Doc 1         Filed 05/07/10 Entered 05/07/10 16:15:19                             Desc Main
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                                                                                                   11. Closed financial accounts

                                                                                         None             List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor
                                                                                                   which were closed, sold, or otherwise transferred within one year immediately preceding the commencement of
                                                                                                   this case. Include checking, savings, or other financial accounts, certificates of deposit, or other instruments;
                                                                                                   shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage
                                                                                                   houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                   information concerning accounts or instruments held by either or both spouses whether or not a joint petition is
                                                                                                   filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                  NAME AND                            TYPE OF ACCOUNT, LAST FOUR                                     AMOUNT AND
                                                                                                   ADDRESS                            DIGITS OF ACCOUNT NUMBER,                                      DATE OF SALE
                                                                                                OF INSTITUTION                       AND AMOUNT OF FINAL BALANCE                                      OR CLOSING


                                                                                                   12. Safe deposit boxes

                                                                                         None             List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other
                                                                                                   valuables within one year immediately preceding the commencement of this case.                (Married debtors filing
                                                                                                   under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a
                                                                                                   joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                     NAME AND                       NAMES AND ADDRESSES OF                 DESCRIPTION OF              DATE OF
                                                                                                  ADDRESS OF BANK                  THOSE WITH ACCESS TO BOX                  CONTENTS                TRANSFER OR
                                                                                                OR OTHER DEPOSITORY                     OR DEPOSITORY                                              SURRENDER, IF ANY
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                                                                                                   13. Setoffs

                                                                                         None             List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90
                                                                                                   days preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                                                   include information concerning either or both spouses whether or not a joint petition is filed, unless the spouses
                                                                                                   are separated and a joint petition is not filed.)


                                                                                                NAME AND ADDRESS OF CREDITOR                                 DATE                                 AMOUNT
                                                                                                                                                              OF                                     OF
                                                                                                                                                            SETOFF                                 SETOFF

                                                                                                   14. Property held for another person

                                                                                         None           List all property owned by another person that the debtor holds or controls.


                                                                                                    NAME AND                               DESCRIPTION AND                             LOCATION OF PROPERTY
                                                                                                 ADDRESS OF OWNER                         VALUE OF PROPERTY
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                                                                                                 15. Prior address of debtor
                                                                                         None
                                                                                                        If the debtor has moved within the three years immediately preceding the commencement of this case, list
                                                                                                 all premises which the debtor occupied during that period and vacated prior to the commencement of this case.
                                                                                                 If a joint petition is filed, report also any separate address of either spouse.


                                                                                                ADDRESS                                        NAME USED                                  DATES OF OCCUPANCY



                                                                                                 16. Spouses and Former Spouses
                                                                                         None
                                                                                                    If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska,
                                                                                                 Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin)
                                                                                                 within eight years immediately preceding the commencement of the case, identify the name of the debtor’s
                                                                                                 spouse and of any former spouse who resides or resided with the debtor in the community property state.


                                                                                                             NAME


                                                                                                 17. Environmental Sites

                                                                                                 For the purpose of this question, the following definitions apply:

                                                                                                 "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
                                                                                                 releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater,
                                                                                                 or other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances,
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                                                                                                 wastes, or material.

                                                                                                           "Site" means any location, facility, or property as defined under any Environmental Law, whether or
                                                                                                           not presently or formerly owned or operated by the debtor, including, but not limited to, disposal sites.

                                                                                                           "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic
                                                                                                           substance, hazardous material, pollutant, or contaminant or similar term under an Environmental Law


                                                                                         None
                                                                                                 a.       List the name and address of every site for which the debtor has received notice in writing by a
                                                                                                 governmental unit that it may be liable or potentially liable under or in violation of an Environmental Law.
                                                                                                 Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law:


                                                                                                 SITE NAME                       NAME AND ADDRESS                        DATE OF                 ENVIRONMENTAL
                                                                                                AND ADDRESS                    OF GOVERNMENTAL UNIT                       NOTICE                      LAW
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                                                                                                 b.     List the name and address of every site for which the debtor provided notice to a governmental unit of a
                                                                                                 release of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.
                                                                                         None

                                                                                                 SITE NAME                       NAME AND ADDRESS                          DATE OF                 ENVIRONMENTAL
                                                                                                AND ADDRESS                    OF GOVERNMENTAL UNIT                         NOTICE                      LAW


                                                                                                 c.      List all judicial or administrative proceedings, including settlements or orders, under any Environmental
                                                                                                 Law with respect to which the debtor is or was a party. Indicate the name and address of the governmental unit
                                                                                         None    that is or was a party to the proceeding, and the docket number.


                                                                                                  NAME AND ADDRESS                             DOCKET NUMBER                               STATUS OR DISPOSITION
                                                                                                OF GOVERNMENTAL UNIT


                                                                                                 18. Nature, location and name of business

                                                                                         None    a.     If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the
                                                                                                 businesses, and beginning and ending dates of all businesses in which the debtor was an officer, director,
                                                                                                 partner, or managing executive of a corporation, partnership, sole proprietorship, or was self-employed in a
                                                                                                 trade, profession, or other activity either full- or part-time within six years immediately preceding the
                                                                                                 commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
                                                                                                 within the six years immediately preceding the commencement of this case.

                                                                                                 If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses,
                                                                                                 and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more
                                                                                                 of the voting or equity securities, within the six years immediately preceding the commencement of this case.
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                                                                                                 If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the
                                                                                                 businesses, and beginning and ending dates of all businesses in which the debtor was a partner or owned 5
                                                                                                 percent or more of the voting or equity securities within the six years immediately preceding the commencement
                                                                                                 of this case.

                                                                                          NAME           LAST FOUR DIGITS OF                 ADDRESS                   NATURE OF BUSINESS BEGINNING AND
                                                                                                         SOCIAL-SECURITY OR                                                               ENDING DATES
                                                                                                          OTHER INDIVIDUAL
                                                                                                           TAXPAYER-I.D. NO.
                                                                                                         (ITIN)/ COMPLETE EIN
                                                                                         Color Me Perfect                                 15784 Claret Avenue               Beauty Salon                October 2003 -
                                                                                                                                          Rosemount, MN 55068                                           October 2008


                                                                                                 b.    Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined
                                                                                                 in 11 U.S.C. § 101.
                                                                                         None

                                                                                                 NAME                                                                             ADDRESS
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                                                                                                  The following questions are to be completed by every debtor that is a corporation or partnership and by any
                                                                                         individual debtor who is or has been, within the six years immediately preceding the commencement of this case, any of
                                                                                         the following: an officer, director, managing executive, or owner of more than 5 percent of the voting or equity securities
                                                                                         of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or otherwise self-employed.

                                                                                                 (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in
                                                                                         business, as defined above, within the six years immediately preceding the commencement of this case. A debtor who has
                                                                                         not been in business within those six years should go directly to the signature page.)




                                                                                                  19. Books, record and financial statements

                                                                                         None     a.    List all bookkeepers and accountants who within the two years immediately preceding the filing of this
                                                                                                  bankruptcy case kept or supervised the keeping of books of account and records of the debtor.


                                                                                          NAME AND ADDRESS                                                            DATES SERVICES RENDERED



                                                                                         None     b.    List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy
                                                                                                  case have audited the books of account and records, or prepared a financial statement of the debtor.


                                                                                                   NAME                                            ADDRESS                            DATES SERVICES RENDERED
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                                                                                         None     c.    List all firms or individuals who at the time of the commencement of this case were in possession of the
                                                                                                  books of account and records of the debtor. If any of the books of account and records are not available, explain.


                                                                                                   NAME                                               ADDRESS



                                                                                         None     d.    List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom
                                                                                                  a financial statement was issued within the two years immediately preceding the commencement of this case by
                                                                                                  the debtor.


                                                                                             NAME AND ADDRESS                                                      DATE
                                                                                                                                                                  ISSUED


                                                                                                  20. Inventories

                                                                                         None     a.    List the dates of the last two inventories taken of your property, the name of the person who supervised the
                                                                                                  taking of each inventory, and the dollar amount and basis of each inventory.


                                                                                             DATE OF INVENTORY                     INVENTORY SUPERVISOR                     DOLLAR AMOUNT OF INVENTORY
                                                                                                                                                                             (Specify cost, market or other basis)
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                                                                                         None      b.     List the name and address of the person having possession of the records of each of the two inventories
                                                                                                   reported in a., above.


                                                                                                  DATE OF INVENTORY                                               NAME AND ADDRESSES OF CUSTODIAN OF
                                                                                                                                                                         INVENTORY RECORDS


                                                                                                   21. Current Partners, Officers, Directors and Shareholders

                                                                                         None      a.     If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


                                                                                                  NAME AND ADDRESS                       NATURE OF INTEREST                            PERCENTAGE OF INTEREST



                                                                                         None      b.     If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who
                                                                                                   directly or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the corporation.


                                                                                                  NAME AND ADDRESS                                  TITLE                           NATURE AND PERCENTAGE OF
                                                                                                                                                                                        STOCK OWNERSHIP


                                                                                                   22. Former partners, officers, directors and shareholders

                                                                                         None      a.   If the debtor is a partnership, list each member who withdrew from the partnership within one year
                                                                                                   immediately preceding the commencement of this case.
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                                                                                                         NAME                                      ADDRESS                              DATE OF WITHDRAWAL



                                                                                         None      b.     If the debtor is a corporation, list all officers, or directors whose relationship with the corporation
                                                                                                   terminated within one year immediately preceding the commencement of this case.


                                                                                                NAME AND ADDRESS                                          TITLE                         DATE OF TERMINATION



                                                                                                   23.   Withdrawals from a partnership or distribution by a corporation

                                                                                         None           If the debtor is a partnership or a corporation, list all withdrawals or distributions credited or given to an
                                                                                                   insider, including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other
                                                                                                   perquisite during one year immediately preceding the commencement of this case.


                                                                                                  NAME & ADDRESS OF                            DATE AND PURPOSE                           AMOUNT OF MONEY OR
                                                                                                RECIPIENT, RELATIONSHIP                         OF WITHDRAWAL                               DESCRIPTION AND
                                                                                                       TO DEBTOR                                                                           VALUE OF PROPERTY
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                                                                                                           24.    Tax Consolidation Group

                                                                                                None            If the debtor is a corporation, list the name and federal taxpayer identification number of the parent
                                                                                                           corporation of any consolidated group for tax purposes of which the debtor has been a member at any time
                                                                                                           within the six-year period immediately preceding the commencement of the case.


                                                                                                         NAME OF PARENT CORPORATION                                       TAXPAYER IDENTIFICATION NUMBER (EIN)



                                                                                                           25.    Pension Funds

                                                                                                None           If the debtor is not an individual, list the name and federal taxpayer identification number of any pension
                                                                                                           fund to which the debtor, as an employer, has been responsible for contributing at any time within the six-year
                                                                                                           period immediately preceding the commencement of the case.


                                                                                                                 NAME OF PENSION FUND                                     TAXPAYER IDENTIFICATION NUMBER (EIN)




                                                                                                                                                *    *    *    *    *    *


                                                                                                [If completed by an individual or individual and spouse]
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                                                                                                I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
                                                                                                attachments thereto and that they are true and correct.
                                                                                                May 7, 2010                                                                      /e/Michelle Rae Sams
                                                                                         Date                                                            Signature
                                                                                                                                                         of Debtor               MICHELLE RAE SAMS
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                                                                                                                                                                 0 continuation sheets attached
                                                                                                                                                               _____


                                                                                                             Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §152 and 3571




                                                                                                                DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
                                                                                             I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                         compensation and have provided the debtor with a copy of this document and the notices and required under 11U.S.C. §§ 110(b), 110(h), and 342(b);
                                                                                         (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable by bankruptcy petition
                                                                                         preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the
                                                                                         debtor, as required in that section.




                                                                                         Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                       Social Security No. (Required by 11 U.S.C. § 110(c).)
                                                                                         If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or
                                                                                         partner who signs this document.
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                                                                                         Address

                                                                                         X
                                                                                         Signature of Bankruptcy Petition Preparer                                                                                     Date

                                                                                         Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                         not an individual:

                                                                                         If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                         A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines
                                                                                         or imprisonment or both. 18 U.S.C. §156.
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                                                                                                                             UNITED STATES BANKRUPTCY COURT
                                                                                                                                                   District of Minnesota
                                                                                                 Michelle Rae Sams
                                                                                         In re                                                                 ,         Case No.
                                                                                                                        Debtor                                                                   Chapter 7



                                                                                                                  CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                                          PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is
                                                                                          secured by property of the estate. Attach additional pages if necessary.)


                                                                                            Property No. 1
                                                                                           Creditor's Name:                                                         Describe Property Securing Debt:
                                                                                            Chase                                                                      15706 Crystal Path, City of Rosemount, MN 55068
                                                                                                                                                                       Legally described as: Lot 6, Block 1, Shannon Pond
                                                                                            P.O. Box 78420
                                                                                                                                                                       Second Addition, County of Dakota, State of Minnesota
                                                                                            Phoenix, AZ 85062-8420

                                                                                            Property will be (check one):
                                                                                                      Surrendered                                   Retained

                                                                                             If retaining the property, I intend to (check at least one):
                                                                                                      Redeem the property
                                                                                                      Reaffirm the debt
                                                                                                      Other. Explain _______________________________________________(for example, avoid lien
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                                                                                            using 11 U.S.C. §522(f)).

                                                                                            Property is (check one):
                                                                                                       Claimed as exempt                                           Not claimed as exempt



                                                                                            Property No. 2 (if necessary)
                                                                                           Creditor's Name:                                                         Describe Property Securing Debt:
                                                                                            Chase                                                                      15706 Crystal Path, City of Rosemount, MN 55068
                                                                                                                                                                       Legally described as: Lot 6, Block 1, Shannon Pond
                                                                                            P.O. Box 78420
                                                                                                                                                                       Second Addition, County of Dakota, State of Minnesota
                                                                                            Phoenix, AZ 85062-8420

                                                                                            Property will be (check one):
                                                                                                      Surrendered                                   Retained

                                                                                             If retaining the property, I intend to (check at least one):
                                                                                                      Redeem the property
                                                                                                      Reaffirm the debt
                                                                                                      Other. Explain _______________________________________________(for example, avoid lien
                                                                                            using 11 U.S.C. §522(f)).

                                                                                            Property is (check one):
                                                                                                       Claimed as exempt                                           Not claimed as exempt
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                                                                                             PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for
                                                                                             Each unexpired lease. Attach additional pages if necessary.)


                                                                                               Property No. 1           NO Leased Property
                                                                                              Lessor's Name:                                   Describe Leased Property:            Lease will be Assumed pursuant
                                                                                                                                                                                    to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                       YES              NO


                                                                                               Property No. 2 (if necessary)
                                                                                              Lessor's Name:                                   Describe Leased Property:            Lease will be Assumed pursuant
                                                                                                                                                                                    to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                       YES              NO


                                                                                               Property No. 3 (if necessary)
                                                                                              Lessor's Name:                                   Describe Leased Property:            Lease will be Assumed pursuant
                                                                                                                                                                                    to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                       YES              NO

                                                                                               1
                                                                                              ______ continuation sheets attached (if any)
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                                                                                             I declare under penalty of perjury that the above indicates my intention as to any property of my
                                                                                             Estate securing debt and/or personal property subject to an unexpired lease.




                                                                                                   May 7, 2010
                                                                                             Date:_____________________________                            /e/Michelle Rae Sams
                                                                                                                                                        Signature of Debtor




                                                                                                                                                        Signature of Joint Debtor
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                                                                                                                      CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                                                                                                         (Continuation Sheet)
                                                                                            PART A - Continuation




                                                                                              Property No: 3

                                                                                              Creditor's Name:                                                           Describe Property Securing Debt:
                                                                                               Wells Fargo Dealer Services                                               2005 Mustang Ford total value $8,000 (1/2
                                                                                               PO Box 25341                                                              owned jointly with son)
                                                                                               Santa Ana, CA 92799-5341

                                                                                                   Property will be (check one):
                                                                                                           Surrendered                                      Retained
                                                                                                   If retaining the property, I intend to (check at least one):
                                                                                                           Redeem the property
                                                                                                           Reaffirm the debt
                                                                                                           Other. Explain                                                                               (for example, avoid lien
                                                                                                   using 11 U.S.C.§522(f)).

                                                                                                   Property is (check one):
                                                                                                          Claimed as exempt                                            Not claimed as exempt
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                                                                                                                                                            According to the information required to be entered on this statement
                                                                                                                                                            (check one box as directed in Part I, III, or VI of this statement):
                                                                                         In re   Michelle Rae Sams                                                         The presumption arises.
                                                                                                                Debtor(s)                                                  The presumption does not arise.
                                                                                         Case Number:
                                                                                                                                                                           The presumption is temporarily inapplicable.
                                                                                                               (If known)

                                                                                                             CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                                                                                                       AND MEANS-TEST CALCULATION
                                                                                          In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor, whether or not filing
                                                                                          jointly. Unless the exclusion in Line 1C applies, joint debtors may complete a single statement. If the exclusion in Line 1C
                                                                                          applies, each joint filer must complete a separate statement.

                                                                                                  Part I. EXCLUSION FOR DISABLED VETERANS AND NON-CONSUMER DEBTORS
                                                                                                 If you are a disabled veteran described in the Veteran’s Declaration in this Part I, (1) check the box at the beginning of the
                                                                                                 Veteran’s Declaration, (2) check the box for “The presumption does not arise” at the top of this statement, and (3) complete
                                                                                                 the verification in Part VIII. Do not complete any of the remaining parts of this statement.
                                                                                            1A
                                                                                                     Veteran’s Declaration. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as
                                                                                                 defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as
                                                                                                 defined in 11 U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).
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                                                                                                 If your debts are not primarily consumer debts, check the box below and complete the verification in Part VIII. Do not
                                                                                                 complete any of the remaining parts of this statement.
                                                                                            1B
                                                                                                    Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.

                                                                                                  Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component
                                                                                                  of the Armed Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C.
                                                                                                  § 101(d)(1)) after September 11, 2001, for a period of at least 90 days, or who have performed homeland defense activity
                                                                                                  (as defined in 32 U.S.C. § 901(1)) for a period of at least 90 days, are excluded from all forms of means testing during the
                                                                                                  time of active duty or homeland defense activity and for 540 days thereafter (the “exclusion period”). If you qualify for
                                                                                                  this temporary exclusion, (1) check the appropriate boxes and complete any required information in the Declaration of
                                                                                                  Reservists and National Guard Members below, (2) check the box for “The presumption is temporarily inapplicable” at the
                                                                                                  top of this statement, and (3) complete the verification in Part VIII. During your exclusion period you are not required
                                                                                                  to complete the balance of this form, but you must complete the form no later than 14 days after the date on
                                                                                                  which your exclusion period ends, unless the time for filing a motion raising the means test presumption
                                                                                                  expires in your case before your exclusion period ends.


                                                                                            1C             Declaration of Reservists and National Guard Members. By checking this box and making the appropriate
                                                                                                  entries below, I declare that I am eligible for a temporary exclusion from means testing because, as a member of a reserve
                                                                                                  component of the Armed Forces or the National Guard

                                                                                                               a.                I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                                                                                                                      I remain on active duty /or/
                                                                                                                                      I was released from active duty on ________________, which is less than 540 days before
                                                                                                               this bankruptcy case was filed;
                                                                                                                            OR

                                                                                                               b.                I am performing homeland defense activity for a period of at least 90 days /or/
                                                                                                                         I performed homeland defense activity for a period of at least 90 days, terminating on
                                                                                                               _______________, which is less than 540 days before this bankruptcy case was filed.
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                                                                                                    Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
                                                                                               Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.

                                                                                               a.        Unmarried. Complete only Column A (“Debtor’s Income”) for Lines 3-11.

                                                                                               b.     Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
                                                                                               penalty of perjury: “My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I are
                                                                                               living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code.”
                                                                                               Complete only Column A (“Debtor’s Income”) for Lines 3-11.

                                                                                           2   c.   Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both
                                                                                               Column A (“Debtor’s Income”) and Column B (“Spouse’s Income”) for Lines 3-11.

                                                                                               d.     Married, filing jointly. Complete both Column A (“Debtor’s Income”) and Column B ("Spouse’s Income")
                                                                                               for Lines 3-11.

                                                                                               All figures must reflect average monthly income received from all sources, derived during the         Column A       Column B
                                                                                               six calendar months prior to filing the bankruptcy case, ending on the last day of the month          Debtor’s       Spouse’s
                                                                                               before the filing. If the amount of monthly income varied during the six months, you must              Income         Income
                                                                                               divide the six-month total by six, and enter the result on the appropriate line.
                                                                                           3   Gross wages, salary, tips, bonuses, overtime, commissions.                                        $       1,315 $        N.A.
                                                                                               Income from the operation of a business, profession or farm. Subtract Line b from
                                                                                               Line a and enter the difference in the appropriate column(s) of Line 4. If you operate more
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                                                                                               than one business, profession or farm, enter aggregate numbers and provide details on an
                                                                                               attachment. Do not enter a number less than zero. Do not include any part of the
                                                                                          4    business expenses entered on Line b as a deduction in Part V.

                                                                                                    a.      Gross receipts                                     $                             0
                                                                                                    b.      Ordinary and necessary business expenses           $                             0
                                                                                                    c.      Business income                                    Subtract Line b from Line a
                                                                                                                                                                                                 $          0 $         N.A.
                                                                                               Rent and other real property income. Subtract Line b from Line a and enter the
                                                                                               difference in the appropriate column(s) of Line 5. Do not enter a number less than zero. Do
                                                                                               not include any part of the operating expenses entered on Line b as a deduction in
                                                                                               Part V.
                                                                                          5
                                                                                                    a.      Gross receipts                                     $                             0
                                                                                                    b.      Ordinary and necessary operating expenses          $                             0
                                                                                                    c.      Rent and other real property income                Subtract Line b from Line a       $          0 $         N.A.
                                                                                          6    Interest, dividends and royalties.                                                                $          0 $         N.A.
                                                                                          7    Pension and retirement income.                                                                    $          0 $         N.A.
                                                                                               Any amounts paid by another person or entity, on a regular basis, for the household
                                                                                               expenses of the debtor or the debtor’s dependents, including child support paid for
                                                                                          8    that purpose. Do not include alimony or separate maintenance payments or amounts paid
                                                                                               by your spouse if Column B is completed.                                                          $          0 $         N.A.
                                                                                               Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
                                                                                               However, if you contend that unemployment compensation received by you or your spouse
                                                                                               was a benefit under the Social Security Act, do not list the amount of such compensation in
                                                                                          9    Column A or B, but instead state the amount in the space below:

                                                                                                Unemployment compensation claimed to be                            0                N.A.
                                                                                                a benefit under the Social Security Act           Debtor $             Spouse $                             0           N.A.
                                                                                                                                                                                                 $              $
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                                                                                               Income from all other sources. Specify source and amount. If necessary, list additional
                                                                                               sources on a separate page. Do not include alimony or separate maintenance payments
                                                                                               paid by your spouse if Column B is completed, but include all other payments of
                                                                                               alimony or separate maintenance. Do not include any benefits received under the Social
                                                                                         10    Security Act or payments received as a victim of a war crime, crime against humanity, or as a
                                                                                               victim of international or domestic terrorism.
                                                                                                 a.                                                                           $          800
                                                                                                 b.                                                                           $            0
                                                                                                      Total and enter on Line 10                                                                   $       800    $      N.A.
                                                                                               Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in
                                                                                         11    Column A, and, if Column B is completed, add Lines 3 through 10 in Column B. Enter the
                                                                                               total(s).                                                                                           $              $
                                                                                                                                                                                                         2,115           N.A.
                                                                                               Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add
                                                                                         12    Line 11, Column A to Line 11, Column B, and enter the total. If Column B has not been
                                                                                               completed, enter the amount from Line 11, Column A.                                                 $                     2,115
                                                                                                                     Part III. APPLICATION OF § 707(b)(7) EXCLUSION
                                                                                         13    Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the
                                                                                               number 12 and enter the result.                                                                                $        25,380
                                                                                               Applicable median family income. Enter the median family income for the applicable state and
                                                                                         14    household size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of
                                                                                               the bankruptcy court.)
                                                                                                                                     Minnesota
                                                                                               a. Enter debtor’s state of residence: _______________                                          3
                                                                                                                                                          b. Enter debtor’s household size: __________        $
                                                                                                                                                                                                                       74,806
                                                                                               Application of Section 707(b)(7).         Check the applicable box and proceed as directed.

                                                                                                        The amount on Line 13 is less than or equal to the amount on Line 14. Check the “The presumption does
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                                                                                         15             not arise” box at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.

                                                                                                        The amount on Line 13 is more than the amount on Line 14.             Complete the remaining parts of this statement.


                                                                                                        Complete Parts IV, V, VI and VII of this statement only if required. (See Line 15).


                                                                                                  Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
                                                                                         16    Enter the amount from Line 12.                                                                                 $          N.A.
                                                                                               Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income
                                                                                               listed in Line 11, Column B that was NOT paid on a regular basis for the household expenses of the
                                                                                               debtor or the debtor's dependents. Specify in the lines below the basis for excluding the Column B
                                                                                               income (such as payment of the spouse's tax liability or the spouse's support of persons other than the
                                                                                               debtor or the debtor's dependents) and the amount of income devoted to each purpose. If necessary,
                                                                                               list additional adjustments on a separate page. If you did not check box at Line 2.c, enter zero.
                                                                                         17
                                                                                                 a.                                                                          $
                                                                                                 b.                                                                          $
                                                                                                 c.                                                                          $

                                                                                               Total and enter on Line 17.                                                                                    $          N.A.
                                                                                         18    Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                    $          N.A.
                                                                                                                   Part V. CALCULATION OF DEDUCTIONS FROM INCOME

                                                                                               Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
                                                                                               National Standards: food, clothing and items. Enter in Line 19A the “Total” amount from IRS
                                                                                         19A   National Standards for Food, Clothing and Other Items for the applicable household size. (This
                                                                                               information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                     $          N.A.
                                                                                                 CaseForm
                                                                                         B22A (Official 10-33349   Doc 1 7)Filed
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                                                                                               National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
                                                                                               Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards
                                                                                               for persons 65 years of age or older. (This information is available at www.usdoj.gov/ust/ or from the
                                                                                               clerk of the bankruptcy court.) Enter in Line b1 the number of members of your household who are
                                                                                               under 65 years of age, and enter in Line b2 the number of members of your household who are 65
                                                                                               years or older. (The total number of household members must be the same as the number stated in
                                                                                               Line 14b). Multiply line a1 by Line b1 to obtain a total amount for household members under 65, and
                                                                                               enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for household members
                                                                                         19B   65 and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total health care amount,
                                                                                               and enter the result in Line 19B.

                                                                                                Household members under 65 years of age            Household members 65 years of age or older

                                                                                                 a1.      Allowance per member            N.A.      a2.    Allowance per member               N.A.
                                                                                                 b1.      Number of members                 N.A.    b2.    Number of members
                                                                                                 c1.      Subtotal                        N.A.      c2.    Subtotal                           N.A.        $    N.A.
                                                                                               Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the
                                                                                         20A   IRS Housing and Utilities Standards; non-mortgage expenses for the applicable county and household
                                                                                               size. (This information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) $        N.A.

                                                                                               Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below,
                                                                                               the amount of the IRS Housing and Utilities Standards; mortgage/rent expense for your county and
                                                                                               household size (this information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
                                                                                               court); enter on Line b the total of the Average Monthly Payments for any debts secured by your home,
                                                                                               as stated in Line 42; subtract Line b from Line a and enter the result in Line 20B. Do not enter an
                                                                                         20B   amount less than zero.
                                                                                               a.       IRS Housing and Utilities Standards; mortgage/rental expense    $                         N.A.
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                                                                                                        Average Monthly Payment for any debts secured by
                                                                                               b.
                                                                                                        your home, if any, as stated in Line 42                         $                         N.A.
                                                                                               c.       Net mortgage/rental expense                                     Subtract Line b from Line a       $    N.A.

                                                                                               Local Standards: housing and utilities; adjustment. If you contend that the process set
                                                                                               out in Lines 20A and 20B does not accurately compute the allowance to which you are entitled under
                                                                                               the IRS Housing and Utilities Standards, enter any additional amount to which you contend you are
                                                                                               entitled, and state the basis for your contention in the space below:
                                                                                          21


                                                                                                                                                                                                          $    N.A.
                                                                                               Local Standards: transportation; vehicle operation/public transportation expense.
                                                                                               You are entitled to an expense allowance in this category regardless of whether you pay the expenses of
                                                                                               operating a vehicle and regardless of whether you use public transportation.
                                                                                               Check the number of vehicles for which you pay the operating expenses or for which the operating
                                                                                               expenses are included as a contribution to your household expenses in Line 8.
                                                                                         22A        0      1    2 or more.
                                                                                               If you checked 0, enter on Line 22A the "Public Transportation" amount from IRS Local Standards:
                                                                                               Transportation. If you checked 1 or 2 or more, enter on Line 22A the "Operating Costs" amount from
                                                                                               IRS Local Standards: Transportation for the applicable number of vehicles in the applicable
                                                                                               Metropolitan Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/
                                                                                               or from the clerk of the bankruptcy court.)                                                                $    N.A.

                                                                                               Local Standards: transportation; additional public transportation expense.
                                                                                               If you pay the operating expenses for a vehicle and also use public transportation, and you contend
                                                                                         22B   that you are entitled to an additional deduction for your public transportation expenses, enter on Line
                                                                                               22B the "Public Transportation" amount from IRS Local Standards: Transportation. (This amount is
                                                                                               available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                                $    N.A.
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                                                                                              Local Standards: transportation ownership/lease expense; Vehicle 1. Check the
                                                                                              number of vehicles for which you claim an ownership/lease expense. (You may not claim an
                                                                                              ownership/lease expense for more than two vehicles.)
                                                                                                   1         2 or more.
                                                                                              Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Transportation Standards:
                                                                                              Transportation (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line
                                                                                              b the total of the Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42;
                                                                                         23   subtract Line b from Line a and enter the result in Line 23. Do not enter an amount less than zero.
                                                                                                a.      IRS Transportation Standards, Ownership Costs                   $                        N.A.
                                                                                                        Average Monthly Payment for any debts secured by Vehicle 1,
                                                                                                b.                                                                  $
                                                                                                        as stated in Line 42                                                                     N.A.
                                                                                                c.      Net ownership/lease expense for Vehicle 1                       Subtract Line b from Line a.
                                                                                                                                                                                                           $       N.A.

                                                                                              Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line
                                                                                              only if you checked the “2 or more” Box in Line 23.
                                                                                              Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
                                                                                              (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of
                                                                                              that Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b
                                                                                              from Line a and enter the result in Line 24. Do not enter an amount less than zero.
                                                                                         24
                                                                                                 a.      IRS Transportation Standards, Ownership Costs                      $                    N.A.
                                                                                                         Average Monthly Payment for any debts secured by Vehicle 2,
                                                                                                 b.                                                                         $
                                                                                                         as stated in Line 42                                                                    N.A.
                                                                                                 c.      Net ownership/lease expense for Vehicle 2                          Subtract Line b from Line a.       $   N.A.
                                                                                              Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur
                                                                                         25   for all federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self em-
                                                                                                                                                                                                             $
                                                                                              ployment taxes, social security taxes, and Medicare taxes. Do not include real estate or sales taxes.
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                                                                                                                                                                                                                   N.A.
                                                                                               Other Necessary Expenses: involuntary deductions for employment. Enter the total
                                                                                               average monthly payroll deductions that are required for your employment, such as retirement
                                                                                         26
                                                                                               contributions, union dues, and uniform costs. Do not include discretionary amounts, such as
                                                                                               voluntary 401(k) contributions.                                                                                 $   N.A.
                                                                                               Other Necessary Expenses: life insurance. Enter total average monthly premiums that you
                                                                                         27    actually pay for term life insurance for yourself. Do not include premiums on your dependents, for
                                                                                                                                                                                                               $
                                                                                               whole life or for any other form of insurance.                                                                      N.A.
                                                                                               Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that
                                                                                         28    you are required to pay pursuant to court order or administrative agency, such as spousal or child
                                                                                               support payments. Do not include payments on past due obligations included in Line 44.                          $   N.A.
                                                                                               Other Necessary Expenses: education for employment or for a physically or
                                                                                               mentally challenged child. Enter the total average monthly amount that you actually expend for
                                                                                         29    education that is a condition of employment and for education that is required for a physically or
                                                                                               mentally challenged dependent child for whom no public education providing similar services is available.       $
                                                                                                                                                                                                                   N.A.
                                                                                               Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually
                                                                                         30    expend on childcare—such as baby-sitting, day care, nursery and preschool. Do not include other
                                                                                               educational payments.                                                                                           $   N.A.
                                                                                              Other Necessary Expenses: health care. Enter the total average monthly amount that you
                                                                                         31   actually expend on health care that is required for the health and welfare of yourself or your dependents,
                                                                                              that is not reimbursed by insurance or paid by a health savings account, and that is in excess of the
                                                                                              amount entered in Lin 19B. Do not include payments for health insurance or health savings
                                                                                              accounts listed in Line 34.                                                                                      $   N.A.
                                                                                               Other Necessary Expenses: telecommunication services. Enter the total average monthly
                                                                                         32    amount that you actually pay for telecommunication services other than your basic home telephone and
                                                                                               cell phone service—such as pagers, call waiting, caller id, special long distance, or internet service—to
                                                                                               the extent necessary for your health and welfare or that of your dependents. Do not include any
                                                                                               amount previously deducted.                                                                                     $   N.A.
                                                                                         33    Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32                              $   N.A.
                                                                                                 CaseForm
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                                                                                                            22A) (Chapter        05/07/10
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                                                                                                                Subpart B: Additional Expense Deductions under § 707(b)
                                                                                                          Note: Do not include any expenses that you have listed in Lines 19-32.

                                                                                               Health Insurance, Disability Insurance and Health Savings Account Expenses. List the
                                                                                               monthly expenses in the categories set out in lines a-c below that are reasonably necessary for yourself,
                                                                                               your spouse, or your dependents.

                                                                                                  a.       Health Insurance                                                                 $                            N.A.
                                                                                                  b.       Disability Insurance                                                             $                            N.A.
                                                                                          34      c.       Health Savings Account                                                           $                            N.A.
                                                                                                                                                                                                                                   $              N.A.
                                                                                                  Total and enter on Line 34.

                                                                                                  If you do not actually expend this total amount, state your actual average expenditures in the
                                                                                                  space below:
                                                                                                  $             N.A.

                                                                                               Continued contributions to the care of household or family members. Enter the total
                                                                                          35   average actual monthly expenses that you will continue to pay for the reasonable and necessary care and
                                                                                               support of an elderly, chronically ill, or disabled member of your household or member of your immediate
                                                                                               family who is unable to pay for such expenses.                                                           $
                                                                                                                                                                                                                                                  N.A.

                                                                                               Protection against family violence. Enter the total average reasonably necessary monthly
                                                                                          36   expenses that you actually incurred to maintain the safety of your family under the Family Violence
                                                                                               Prevention and Services Act or other applicable federal law. The nature of these expenses is required to
                                                                                               be kept confidential by the court.                                                                                                  $              N.A.

                                                                                               Home energy costs Enter the total average monthly amount, in excess of the allowance specified by
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                                                                                          37   IRS Local Standards for Housing and Utilities that you actually expend for home energy costs. You must
                                                                                               provide your case trustee with documentation of your actual expenses, and you must
                                                                                               demonstrate that the additional amount claimed is reasonable and necessary.                                                         $              N.A.

                                                                                               Education expenses for dependent children less than 18. Enter the total average monthly
                                                                                               expenses that you actually incur, not to exceed $147.92* per child, for attendance at a private or public
                                                                                          38   elementary or secondary school by your dependent children less than 18 years of age. You must
                                                                                               provide your case trustee with documentation of your actual expenses and you must explain
                                                                                               why the amount claimed is reasonable and necessary and not already accounted for in the IRS
                                                                                               Standards.                                                                                                                          $              N.A.

                                                                                               Additional food and clothing expense. Enter the total average monthly amount by which your
                                                                                               food and clothing expenses exceed the combined allowances for food and clothing (apparel and services)
                                                                                          39   in the IRS National Standards, not to exceed 5% of those combined allowances. (This information is
                                                                                               available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) You must demonstrate
                                                                                               that the additional amount claimed is reasonable and necessary.                                                                     $              N.A.

                                                                                          40
                                                                                               Continued charitable contributions. Enter the amount that you will continue to contribute in
                                                                                               the form of cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170
                                                                                               (c)(1)-(2)                                                                                                                          $              N.A.
                                                                                          41   Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40.                                         $              N.A.
                                                                                                *Amount subject to adjustment on 4/1/2013, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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                                                                                                                             Subpart C: Deductions for Debt Payment

                                                                                                Future payments on secured claims. For each of your debts that is secured by an interest in
                                                                                                property that you own, list the name of creditor, identify the property securing the debt, and state the
                                                                                                Average Monthly Payment, and check whether the payment includes taxes or insurance. The Average
                                                                                                Monthly Payment is the total of all amounts contractually due to each Secured Creditor in the 60
                                                                                                months following the filing of the bankruptcy case, divided by 60. If necessary, list additional entries on
                                                                                                a separate page. Enter the total Average Monthly payments on Line 42.

                                                                                         42             Name of Creditor               Property Securing the Debt            Average        Does payment
                                                                                                                                                                             Monthly        include taxes
                                                                                                                                                                             Payment        or insurance?
                                                                                               a.                                                                        $                      yes    no
                                                                                               b.                                                                        $                      yes    no
                                                                                               c.                                                                        $                      yes    no
                                                                                                                                                                        Total: Add Lines
                                                                                                                                                                        a, b and c                                N.A.
                                                                                                                                                                                                              $
                                                                                              Other payments on secured claims. If any of the debts listed in Line 42 are secured by your
                                                                                              primary residence, a motor vehicle, or other property necessary for your support or the support of your
                                                                                              dependents, you may include in your deduction 1/60th of any amount (the “cure amount”) that you must
                                                                                              pay the creditor in addition to the payments listed in Line 42, in order to maintain possession of the
                                                                                              property. The cure amount would include any sums in default that must be paid in order to avoid
                                                                                              repossession or foreclosure. List and total any such amounts in the following chart. If necessary, list
                                                                                              additional entries on a separate page.
                                                                                         43
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                                                                                                            Name of Creditor              Property Securing the Debt             1/60th of the Cure Amount
                                                                                              a.                                                                             $
                                                                                              b.
                                                                                                                                                                             $
                                                                                              c.                                                                             $
                                                                                                                                                                                                              $   N.A.
                                                                                              Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority
                                                                                         44   claims, such as priority tax, child support and alimony claims, for which you were liable at the time of
                                                                                              your bankruptcy filing. Do not include current obligations, such as those set out in Line 28.
                                                                                                                                                                                                              $   N.A.
                                                                                              Chapter 13 administrative expenses. If you are eligible to file a case under Chapter 13, complete
                                                                                              the following chart, multiply the amount in line a by the amount in line b, and enter the resulting
                                                                                              administrative expense.

                                                                                               a.       Projected average monthly Chapter 13 plan payment.                   $                 N.A.
                                                                                                        Current multiplier for your district as determined under
                                                                                         45
                                                                                               b.       schedules issued by the Executive Office for United States
                                                                                                        Trustees. (This information is available at www.usdoj.gov/ust/
                                                                                                        or from the clerk of the bankruptcy court.)                          x                  N.A.
                                                                                               c.       Average monthly administrative expense of Chapter 13 case            Total: Multiply Lines a and b
                                                                                                                                                                                                              $   N.A.
                                                                                         46   Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                      $   N.A.
                                                                                                                            Subpart D: Total Deductions from Income
                                                                                         47   Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                     $   N.A.
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                                                                                                            Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
                                                                                         48   Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                                $            N.A.
                                                                                         49   Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                                     $            N.A.
                                                                                         50   Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the
                                                                                              result.                                                                                                                               $            N.A.
                                                                                         51   60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the
                                                                                              number 60 and enter the result.                                                                                                       $            N.A.
                                                                                              Initial presumption determination. Check the applicable box and proceed as directed.
                                                                                                  The amount on Line 51 is less than $7,075*. Check the box for “The presumption does not arise” at the top of
                                                                                                  page 1 of this statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.

                                                                                         52       The amount set forth on Line 51 is more than $11,725*. Check the “Presumption arises” box at the top of
                                                                                                  page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete
                                                                                                  the remainder of Part VI.
                                                                                                  The amount on Line 51 is at least $7,025*, but not more than $11,725*. Complete the remainder of
                                                                                                   Part VI (Lines 53 through 55).

                                                                                         53   Enter the amount of your total non-priority unsecured debt                                                                            $            N.A.

                                                                                         54   Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter
                                                                                              the result.                                                                                                                           $            N.A.
                                                                                              Secondary presumption determination. Check the applicable box and proceed as directed.
                                                                                                  The amount on Line 51 is less than the amount on Line 54. Check the box for “The presumption does
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                                                                                                  not arise” at the top of page 1 of this statement, and complete the verification in Part VIII.
                                                                                         55
                                                                                                 The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for “The
                                                                                                 presumption arises” at the top of page 1 of this statement, and complete the verification in Part VIII. You may also
                                                                                                 complete Part VII.

                                                                                                                             Part VII: ADDITIONAL EXPENSE CLAIMS
                                                                                              Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the
                                                                                              health and welfare of you and your family and that you contend should be an additional deduction from your current monthly
                                                                                              income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your
                                                                                              average monthly expense for each item. Total the expenses.

                                                                                                                                     Expense Description                                                              Monthly Amount
                                                                                         56
                                                                                                    a.                                                                                                         $                        N.A.
                                                                                                    b.                                                                                                         $                        N.A.
                                                                                                    c.                                                                                                         $                        N.A.
                                                                                                                                                           Total: Add Lines a, b and c                                                  N.A.

                                                                                                                                            Part VIII: VERIFICATION
                                                                                              I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case,
                                                                                              both debtors must sign.)

                                                                                                   Date:    May 7, 2010                               Signature:              /e/Michelle Rae Sams
                                                                                                                                                                                  (Debtor)
                                                                                         57
                                                                                                   Date:                                              Signature:
                                                                                                                                                                                (Joint Debtor, if any)



                                                                                              *Amounts are subject to adjustment on 4/1/2013, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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                                                                                                                             Form 22 Continuation Sheet
                                                                                         Income Month 1                                         Income Month 2

                                                                                         Gross wages, salary, tips...            836        0    Gross wages, salary, tips...          1,339     0
                                                                                         Income from business...                   0        0    Income from business...                  0      0
                                                                                         Rents and real property income...         0        0    Rents and real property income...        0      0
                                                                                         Interest, dividends...                    0        0    Interest, dividends...                   0      0
                                                                                         Pension, retirement...                    0        0    Pension, retirement...                   0      0
                                                                                         Contributions to HH Exp...                0        0    Contributions to HH Exp...               0      0
                                                                                         Unemployment...                           0        0    Unemployment...                          0      0
                                                                                         Other Income...                         800        0    Other Income...                        800      0


                                                                                         Income Month 3                                         Income Month 4


                                                                                         Gross wages, salary, tips...           1,447       0    Gross wages, salary, tips...          1,798     0
                                                                                         Income from business...                   0        0    Income from business...                  0      0
                                                                                         Rents and real property income...         0        0    Rents and real property income...        0      0
                                                                                         Interest, dividends...                    0        0    Interest, dividends...                   0      0
                                                                                         Pension, retirement...                    0        0    Pension, retirement...                   0      0
                                                                                         Contributions to HH Exp...                0        0    Contributions to HH Exp...               0      0
                                                                                         Unemployment...                           0        0    Unemployment...                          0      0
                                                                                         Other Income...                         800        0    Other Income...                        800      0


                                                                                         Income Month 5                                         Income Month 6
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                                                                                         Gross wages, salary, tips...           1,417       0    Gross wages, salary, tips...          1,057     0
                                                                                         Income from business...                   0        0    Income from business...                  0      0
                                                                                         Rents and real property income...         0        0    Rents and real property income...        0      0
                                                                                         Interest, dividends...                    0        0    Interest, dividends...                   0      0
                                                                                         Pension, retirement...                    0        0    Pension, retirement...                   0      0
                                                                                         Contributions to HH Exp...                0        0    Contributions to HH Exp...               0      0
                                                                                         Unemployment...                           0        0    Unemployment...                          0      0
                                                                                         Other Income...                         800        0    Other Income...                        800      0



                                                                                                                      Additional Items as Designated, if any




                                                                                                                                        Remarks
